           Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 1 of 75

                                                                            Receipt number 9998-4529226


                    IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                                                                         FILED
                                                                                      Mar 7 2018
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                                                                                    U.S. COURT OF
UTE INDIAN TRIBE OF THE UINTAH                      )
                                                                                   FEDERAL CLAIMS
AND OURAY INDIAN RESERVATION,                       )
                                                    )
                Plaintiff,                          )

                                                                             18-359 L
                                                    )
      v.                                            )      Civil Action No. _____________
                                                    )
THE UNITED STATES OF AMERICA,                       )
                                                    )
                Defendant.                          )
                                                    )
                                                    )

                                          COMPLAINT




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March 7, 2018
                Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 2 of 75



                                                       TABLE OF CONTENTS


 
I.      GENERAL NATURE OF THE ACTION .............................................................................. 1

II. PARTIES ................................................................................................................................. 1

III.         JURISDICTION AND VENUE .......................................................................................... 2

IV.          TIMELINESS OF THE PLAINTIFF’S ACTION............................................................... 5

V. STATEMENT OF FACTS ...................................................................................................... 6

     A. HISTORY OF THE UTE TRIBE AND ITS RESERVATION ........................................... 6

     B. THE UTE TRIBE’S WATER RIGHTS AND RELATED RIGHTS AND RESOURCES . 8

        i.     The Act of March 1, 1899 ................................................................................................ 8

        ii. The 1906 Act and Related Acts Authorizing and Funding the Uintah Indian Irrigation
        Project ..................................................................................................................................... 8

        iii. The Tribe’s Winters Reserved Water Rights.................................................................. 10

        iv. 1923 Ute Indian Tribe’s Federally-Decreed Reserved Water Rights ............................ 11

        v. The Decker Report .......................................................................................................... 13

     C. DUTY AND RIGHTS CREATING SOURCES OF LAW GIVING THE UNITED
     STATES PERVASIVE, COMPREHENSIVE, AND EXCLUSIVE CONTROL OVER THE
     ESTABLISHMENT, MANAGEMENT, AND DEVELOPMENT OF UTE WATER RIGHTS,
     ASSETS, AND RESOURCES ................................................................................................. 14

     D. THE FEDERAL GOVERNMENT’S LOSSES OF, FAILURES TO PROCURE AND
     PROTECT, TRANSFERS OF, CONVERSIONS OF, AND WASTE AND
     MISMANAGEMENT OF THE UTE TRIBE’S WATER, WATER WORKS AND RELATED
     RIGHTS .................................................................................................................................... 15

              i. Mismanagement of the UIIP and its Related Water Rights ......................................... 15

        a. Development and Construction of the Uintah Indian Irrigation Project........................... 15

        b.     Failure to Provide Storage .............................................................................................. 18

        c.     Unlawful Secretarial Transfers of Water Rights ............................................................ 21

        d.     Deferred Maintenance of the UIIP ................................................................................. 24



                                                                           i
             Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 3 of 75



      e.     Designation of UIIP Lands as Temporarily or Permanently Non-Assessable ............... 29

      f.     Midview Exchange Agreement ...................................................................................... 30

        ii. Unlawful Action/Inaction by the United States Relating to the 1965 Deferral
      Agreement ............................................................................................................................. 35

         iii. The Central Utah Project Completion Act of 1992 and the Promise of Uinta Basin
      Replacement Facilities .......................................................................................................... 42

      a.     Unjust Compensation for Waiver of Claims .................................................................. 42

      b.     Uintah Basin Replacement Projects ............................................................................... 46

VI. STATEMENT OF CLAIMS ................................................................................................ 49

   FIRST CLAIM FOR RELIEF (Breach of Statutory and Common Law Trust and Fiduciary
   Duties: Mismanagement of Tribal Statutory and Reserved Water Rights to Irrigate Uintah
   Indian Irrigation Project Lands and for Other Purposes) .......................................................... 49

   SECOND CLAIM FOR RELIEF (Breach of Statutory and Common Law Trust and Fiduciary
   Duties: Failure to Construct Storage for the Tribe’s Federally-Decreed Reserved Water
   Rights) ....................................................................................................................................... 50

   THIRD CLAIM FOR RELIEF (Breach of Statutory and Common Law Trust and Fiduciary
   Duties: Failure to Protect, Maintain, Repair, Rehabilitate, Construct, and Preserve the Uintah
   Indian Irrigation Project)........................................................................................................... 52

   FOURTH CLAIM FOR RELIEF (Breach of Statutory and Common Law Trust and Fiduciary
   Duties: Non-Assessable Lands in the UIIP) ............................................................................. 54

   FIFTH CLAIM FOR RELIEF (Breach of Statutory and Common Law Trust and Fiduciary
   Duties – Unlawful Transfers of Tribal Water Rights under the 1941 Act) .............................. 55

   SIXTH CLAIM FOR RELIEF (Breach of Statutory and Common Law Trust and Fiduciary
   Duties: Midview Exchange) ..................................................................................................... 57

   SEVENTH CLAIM FOR RELIEF (Breach of Statutory and Common Law Trust and
   Fiduciary Duties: Midview Exchange – Failure to Discontinue Inequitable Water Management
   Framework) ............................................................................................................................... 58

   EIGHTH CLAIM FOR RELIEF (Breach of Statutory and Common Law Trust and Fiduciary
   Duties: Failure to Develop Tribal Water Rights) ...................................................................... 60

   NINTH CLAIM FOR RELIEF (Breach of Statutory and Common Law Trust and Fiduciary
   Duties: Failure to Enforce and Protect the Tribe’s Right to Just Compensation in the 1992
   CUPCA) .................................................................................................................................... 61




                                                                         ii
          Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 4 of 75



TENTH CLAIM FOR RELIEF (Breach of Statutory and Common Law Trust and Fiduciary
Duties: Failure to Provide Tribal Water Storage as Part of the Uintah Basin Replacement
Projects) .................................................................................................................................... 62

ELEVENTH CLAIM FOR RELIEF (Breach of Trust and Fiduciary Duties: Bottle Hollow
Reservoir) .................................................................................................................................. 63

TWELFTH CLAIM FOR RELIEF (Breach of Trust and Fiduciary Duties: Systematic
Management and Administration of Tribal Water Rights and Water Resources in Violation of
Defendant’s Fiduciary Duty of Undivided Loyalty) ................................................................. 65

THIRTEENTH CLAIM FOR RELIEF (Unconstitutional Taking of Tribal Assets: Midview
Exchange) ................................................................................................................................. 66

FOURTEENTH CLAIM FOR RELIEF (Unconstitutional Taking of Tribal Assets: Central
Utah Project Completion Act) .................................................................................................. 67

FIFTEENTH CLAIM FOR RELIEF (Breach of Contract: 1965 Deferral Agreement) ........... 69

SIXTEENTH CLAIM FOR RELIEF (Breach of Contract: Midview Exchange) .................... 70




                                                                     iii
            Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 5 of 75



       Plaintiff, UTE INDIAN TRIBE OF THE UINTAH AND OURAY INDIAN

RESERVATION (“UTE TRIBE” or “TRIBE”), for its Complaint against Defendant, the UNITED

STATES, alleges as follows:

                        I.      GENERAL NATURE OF THE ACTION

       1.       This is an action by the Plaintiff Ute Indian Tribe against the Defendant United

States for the United States’ breach of its common law, constitutional, statutory, regulatory and

fiduciary trust duties to the Tribe, and for the unconstitutional taking of tribal property. This action

arises out of the United States’ mismanagement and illegal taking of tribal trust assets in the form

of Indian reserved water rights, including federally-decreed reserved water rights, and the water

resources, water works, and trust funds related to these assets. The Tribe’s losses and damages

are due, inter alia, to Defendant’s failures in its exercise of statutory and fiduciary obligations to

protect, preserve, administer, supervise, control, and manage these trust assets under applicable

legal duties, duties that at all times pertinent have been and continue to be under the pervasive,

comprehensive, and exclusive custody, control, and prerogative of the United States. The Tribe

brings this action to obtain compensation and other relief for the damage and losses resulting from

the claims asserted.

                                          II.     PARTIES

       2.       Plaintiff Ute Indian Tribe of the Uintah and Ouray Reservation is a federally

recognized, sovereign Indian Tribe, organized with a Constitution approved by the Secretary of

the Interior under the Indian Reorganization Act of 1934, 25 U.S.C. § 5101 et seq., 82 Fed. Reg.

4919 (Jan. 17, 2017). The Constitution establishes, among other things, that the Ute Tribal

Business Committee is the Tribe’s governing body. The Tribe is comprised of three bands of Ute

Indians, the Uintah, Whiteriver, and Uncompahgre Bands, who today occupy the Uintah and Ouray




                                                   1
             Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 6 of 75



Indian Reservation in the Green River Basin of northeastern Utah, where the Tribe owns beneficial

interests in land, water, various water works, and related funds. The Reservation is located within

a portion of the Tribe’s aboriginal lands and encompasses just over four million acres. The Tribe

brings this cause of action on its own behalf and as parens patriae on behalf of its tribal members

in order to protect its members’ health, welfare, and economic security and well-being.

        3.       Defendant, the United States, is a sovereign government, the agencies of which

include the United States Department of the Interior and the Bureau of Indian Affairs (“BIA”) and

the Indian Service, which as relevant to this suit, was a predecessor to the BIA. The United States

holds legal title as trustee to the Tribe’s trust lands, waters, water works, and trust funds relating

to these assets. The Tribe and its members are the beneficial owners of these assets. Defendant is

vested with numerous trust, fiduciary, and other legal duties owed to the Tribe and its members

under various treaties, executive orders, Congressional acts, federal regulations, judicial decrees,

and express and implied contracts.

                              III.    JURISDICTION AND VENUE

        4.       This Court has subject matter jurisdiction under 28 U.S.C. § 1491(a)(1) (“Tucker

Act”) because this is a civil action against the United States for money damages arising under the

Constitution, laws, treaties, and regulations of the United States, or upon express or implied

contracts with the United States.

        5.       Additionally, the Court has jurisdiction over this case pursuant to 28 U.S.C. § 1505

(“Indian Tucker Act”) which waives sovereign immunity in suits by Indian tribes residing within

the territorial limits of the United States arising under the Constitution, laws, treaties, or regulations

of the United States, and/or is one which would otherwise be cognizable in this Court if the

claimant were not an Indian tribe, band, or group.




                                                    2
            Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 7 of 75



       6.        This is a matter arising under the United States’ trust responsibility over Indians

and Indian Tribes, as established and defined under federal law. This matter also arises under the

Constitution and various law and treaties of the United States, including, without limitation:

             a. The Treaty of Guadalupe Hidalgo in 1848;

             b. Exec. Order of Oct. 3, 1861, 1 Kapp. 900 (2d ed. 1904);

             c. Act of May 5, 1864, ch, 77, § 2.

             d. Act of June 15, 1880, ch. 223, 21 Stat. 1999.

             e. Exec. Order of Jan. 5, 1882, 1 Kapp. 901 (2d ed. 1904);

             f. The Act of February 8, 1887, 25 U.S.C. §§ 381 et seq.;

             g. Act of March 1, 1899, 30 Stat. 941

             h. The Reclamation Act of 1902, Pub. L. 57-161, ch. 1093, 32 Stat. 388;

             i. The Act of June 19, 1902, 32 Stat. 744;

             j. Act of March 3, 1905 (33 Stat. 1048, amended May 14, 1920 (33 Stat. 1069-1070,

                 c. 1479; 41 Stat. 599-600, c. 187);

             k. The Department of Appropriation Act of June 21, 1906, Pub. L. 59-258,

                 Stat. 325, 375;

             l. Winters v. United States, 207 U.S. 564 (1908) and its progeny;

             m. The Department of Appropriation Act of March 3, 35 Stat. 811 (1909);

             n. The Cedarview Irrigation Company, no. 4427, slip op. (D. Utah 1923) and

                 Dry Gulch Irrigation Company, No. 4418, slip op. (D. Utah 1923) (“1923

                 Decrees”);

              o. Act of July 1, 1932 (47 Stat. 564);

            p.   The Historic Sites, Buildings, and Antiquities Act of 1935, 16 U.S.C. §462




                                                   3
     Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 8 of 75



 q.      The Leavitt Act, Act of June 22, 1936, ch. 692, § 3 1804, 49 Stat. 1183, 25 U.S.C.

         §§ 389, 389a-e.

 r.      The March 4, 1943, Agreement between the United States and Dewey McConkie,

         and other similar Agreements;

 s.      Colorado River Storage Project Act of April 11, 1956, P.L. 485, 70 Stat. 105, 43

         U.S.C. §§ 620 et seq., as amended.

 t.      25 U.S.C. § 177;

 u.      25 C.F.R §§ 126.1 et seq.;

 v.      Partial Payment Construction Charges on Indian Irrigation Projects Regulations, 25

         C.F.R. § 134.4a;

 w.      Federal regulations governing the BIA’s operation and maintenance of the Project,

         22 Fed. Reg. 10479, 10637-38 (Dec. 24, 1957);

  x.     The Irrigation Operation and Maintenance Regulations, 25 C.F.R. Part 171;

  y.     Operational Practices on the Uintah Indian Irrigation Project Not Specifically Set

         Forth in Agreements;

  z.     The Interest and Penalty on Claims, 31 U.S.C § 3717;

  aa.    The BIA National Irrigation Handbook;

  bb.    The Reclamation Projects Authorization and Adjustments Act of 1992, Pub. L. 102-

         575, 106 Stat. 4600.

  cc.    The Equal Protection and Due Process clauses of the United States Constitution.

7.       Venue lies in this Court pursuant to 28 U.S.C. §§ 1505 and 1491(a)(1).




                                          4
            Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 9 of 75



                   IV.     TIMELINESS OF THE PLAINTIFF’S ACTION

       8.       The Tribe filed a Complaint against the United States in 2006, alleging that the

United States had breached its trust responsibility to the Tribe by mismanaging its monetary and

non-monetary trust assets, including tribal natural resources, as well as by failing to provide an

accounting for these trust assets. Complaint, Ute Indian Tribe of the Uintah & Ouray Reservation

v. United States, No. 06-866L (Ct. Fed. Cl. 2006).

       9.       On March 8, 2012, the parties entered into a Settlement Agreement (“2012

Settlement Agreement”) which released the Tribe’s claims against the United States, except for

certain claims that were specifically preserved under the Settlement Agreement.

       10.      The Settlement Agreement specifically preserved claims for damages relating to

the United States’ mismanagement of the Tribe’s water rights, stating:

       [N]othing in this Settlement Agreement shall diminish or otherwise affect in any
       way:

       a. Plaintiff’s ability, subject to the provisions of Paragraph 13 below, to assert a
          claim for harms or damages allegedly caused by Defendant after the date of
          execution of this Settlement Agreement;

       b. Plaintiff’s water rights, whether adjudicated or unadjudicated; Plaintiff’s
          authority to use and protect such water rights; and Plaintiff’s claims for
          damages for loss of water resources allegedly caused by Defendants’ failure to
          establish, acquire, enforce, or protect such water rights…

       11.      The present action is timely because it is filed within six years of the 2012

Settlement Agreement, preserving the Tribe’s right to bring claims for damages against the United

States for, inter alia, its mismanagement of the Tribe’s water rights.

       12.      The present action is otherwise timely because Plaintiff’s claims have accrued

within the applicable six-year statute of limitations pursuant to 28 U.S.C. § 2501.

       13.      The present action is otherwise timely because of the continuing nature of the

Defendant’s violations of law set forth herein.


                                                  5
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 10 of 75



                               V.      STATEMENT OF FACTS

              A. HISTORY OF THE UTE TRIBE AND ITS RESERVATION

       14.     Utah is the second most arid State in the country. Because there is little rainfall

over the summer, the only viable source of water is winter snowmelt and the ability to store it. In

testimony before a Senate Committee in 1990, Utah Senator Jake Garn described Utah’s

exceptionally arid conditions, explaining:

       Even with summer droughts, there is sufficient snow melt to carry even today’s and
       future population if we have the ability to store it through the summer months.
       [This] is a concept that I have to continue to try to get over to my colleagues of
       winter snowfall, summer drought, and the need to be able to store that [winter
       snowmelt].

       15.     The critical need for year-round water applies with equal force to the Ute Tribe. In

1905, the Commissioner of Indian Affairs, in his annual report, described the conditions on the

Tribe’s reservation:

       The future of these [Ute] Indians depends upon a successful irrigation scheme, for
       without water their lands are valueless, and starvation or extermination will be their
       fate.
Rept. of the Comm. of Ind. Aff., 1906.

       16.     The Ute Indians once “ranged from the Wasatch Front all the way to the Colorado

Front Range—from present-day Salt Lake City to Denver.” CHARLES WILKINSON, FIRE ON THE

PLATEAU, CONFLICT AND ENDURANCE IN THE AMERICAN SOUTHWEST, 128 (1999). The Ute Tribe

of the Uintah and Ouray Reservation is comprised of three bands of the greater Ute Tribe, the

Uintah band (indigenous to Utah), the Whiteriver band (removed from Colorado to the Uintah

Valley Reservation) and the Uncompahgre band (removed from Colorado and settled east of the

Green River on the Uncompahgre Reservation).  




                                                 6
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 11 of 75



       17.     The United States has had a fiduciary relationship with the Ute Indians since the

Tribe’s aboriginal lands were ceded to the United States by Mexico under the 1848 Treaty of

Guadalupe Hidalgo. See Ute Indian v. United States, 45 Ct. Cl. 440, 442-3 (Ct. Cl. 1910).

       18.     The present-day Uintah and Ouray Reservation is comprised of two separate Indian

reservations (hereinafter referred to collectively as “the Reservation”). The first reservation, the

Uintah Valley Reservation, was established by Executive Order on October 3, 1861, confirmed by

Congress in the Act of May 5, 1864, § 2, 13 Stat. 63, and encompassed 2,039,040 acres in the

Uinta Basin of Utah. Under the 1861 Executive Order, the Uintah Valley Reservation included

“the entire valley of the Uintah River within Utah territory, extending on both sides of the river to

the crest of the first range of contiguous mountains on each side”

       19.     The second reservation, the Uncompahgre Reservation, was established pursuant

to the Act of June 15, 1880 (ch. 223, 21 Stat. 1999), and the Executive Order of January 5, 1882,

and it encompassed approximately 2,000,000 acres.

       20.     Numerous Executive and Congressional actions have reduced the overall size of

lands reserved and held in trust by the United States for the Tribe.

       21.     The Reservation is located in the Green River Basin in the northeast corner of Utah

at the foot of the Uinta Mountains, on an arid and sparsely settled plateau. All of the Reservation

lies within the drainage of the Colorado River Basin and a multitude of streams flows through the

Reservation; the Duchesne River and its tributaries, Rock Creek, Lake Fork River, Yellowstone

River, Uinta River, and Whiterocks River are among the rivers that pass south from the Uinta

Mountains through the western part of the Reservation to the Green River, which, together with

its tributaries, including the White River, flows through the eastern part of the Reservation and

then on to the mainstem of the Colorado River.




                                                 7
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 12 of 75



        22.     The Reservation was established for the purpose of providing a permanent

homeland for the Ute Tribe and its members, and for the purpose of making agricultural

improvements to enable the Indians to become self-sustaining by means of agriculture.

       B. THE UTE TRIBE’S WATER RIGHTS AND RELATED RIGHTS AND
          RESOURCES

                            i. The Act of March 1, 1899

        23.     In 1899, the United States Congress passed a law confirming that Indians living on

the Uintah Indian Reservation have the “paramount rights” to the waters of the streams of the

Reservation as currently used or needed by them in the future for “agricultural and domestic

purposes.” The Act of March 1, 1899, 30 Stat. 941 (“1899 Act”).

        24.     The 1899 Act also established that

        … it shall be the duty of the Secretary of the Interior to prescribe such rules and
        regulations as he may deem necessary to secure to the Indians the quantity of water
        needed for their present and prospective wants, and to otherwise protect the rights
        and interests of the Indians and the Indian service.

                      ii.       The 1906 Act and Related Acts Authorizing and Funding
                                the Uintah Indian Irrigation Project
        25.     The United States Congress subsequently acknowledged the duties and

responsibility vested in the Federal Government under the 1899 Act by enacting legislation in 1906

for the construction of irrigation systems to irrigate the lands of the Ute Indians, because, as the

Hon. Joseph Howell of Utah, House of Representatives, stated in support of the legislation, “it is

the solemn duty of the Government, in its role of guardian of the Indians, to relieve the situation[,]”

and secure a water supply, “because [w]ithout water these lands are like those in any other portions

of the West, which is to say, of little value; with water, however, they will yield rich returns . . . .”

Although the Ute Indians were entitled to the confirmation of their water rights to conserve and

protect approximately 6,000 acres of land under cultivation in 1905, pursuant to the Act of March



                                                   8
           Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 13 of 75



3, 1905, no confirmation was made, but, instead, the acting Indian agent for the Government filed

application for appropriation with the Utah State Engineer in accordance with the laws of the State

of Utah.

       26.     The Act of June 21, 1906, provides that the Secretary of Interior shall hold title to

the Tribe’s water rights and the Ute Indian Irrigation Project (hereinafter “UIIP” or “Project”), in

trust for the Indians, and that the Secretary may sue and be sued in matters relating thereto.

       27.     At the time the 1906 Act was passed by Congress, 103,265 acres had been allotted

to the Indians in severalty. Although the United States was to grant allotments to the Ute Indians

that provided irrigable lands for agricultural pursuits, subsequent reports by the Federal

Government confirm that many Ute Indians were not allotted lands that could be irrigated. In fact,

a survey and investigation of irrigation on the Reservation in the late 1920s concluded that “the

Indians were actually allotted some of the most worthless land on the reservation, while some of

the very best land was opened to entry and has since been homesteaded [by non-Indians].” As

recounted, inter alia, in Ute Indian Tribe of the Uintah and Ouray Reservation v. Utah, 521 F.

Supp. 1072, 1126-27 (D. Utah 1981), the United States acted to insure that the desires of non-

Indians on the Reservation and/or non-Indian irrigators under the UIIP were given precedence,

thereby violating the United States’ fiduciary obligations to the Ute Tribe and its members.

       28.     In the years following the 1906 Act, Congressional appropriations were made

specifically for the development and construction of the UIIP. In 1909, Congress appropriated

funds for constructing the irrigation system “to irrigate the allotted lands of the Uncompahgre,

Uintah, and White River Utes in Utah, as provided by the [1906 Act].”

       29.     In 1914, reporting to the Congressional Committee on Indian Affairs, the Secretary

of the Interior also acknowledged the solemn duty of the Government under the principles laid




                                                 9
           Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 14 of 75



down in the Act of 1899 to enforce and protect the Indian rights to water for their irrigation

systems.

       30.     No Act of Congress or judicial ruling has abrogated the trust status of the Tribe’s

water rights or the duties imposed upon the United States under the 1899 and 1906 Acts to preserve

and protect the “paramount” right of the Tribe and its members to waters from the rivers and

streams running through its Reservation in an amount sufficient to meet current and future needs

and to establish a permanent homeland.

                     iii.    The Tribe’s Winters Reserved Water Rights

       31.     In 1908, the United States Supreme Court ruled that when the United States

establishes an Indian reservation, it impliedly reserves the amount of water necessary to fulfill the

purpose of the reservation. Winters v. United States, 207 U.S. 564 (1908) (now known as the

“Winters Doctrine”). The water rights reserved to the Tribe upon the establishment of the Uintah

Valley and Uncompahgre Reservations are referred to hereafter as “Winters reserved water rights,”

or simply “Reserved Water Rights.”

       32.     Winters reserved water rights create a senior priority use to the water dating back

to the creation of the reservation. Further, the United States Supreme Court has ruled that Winters

reserved water rights are “present perfected water rights” which vest at the time the reservation is

established. Arizona v. California, 373 U.S. 546, 600 (1963).

       33.     Pursuant to the Winters Doctrine, the amount of water that is necessary to fulfill the

purpose of the reservation is impliedly reserved. In the case of the Ute Tribe, the Tribe’s Winters

reserved water rights encompass the entire amount of water necessary to sustain a permanent

homeland on the Uintah and Ouray Reservation. Although the Reservation’s purpose is relevant

to the quantity of waters impliedly reserved, Winters reserved water rights are not limited in use




                                                 10
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 15 of 75



to irrigation or any other specific purpose. Arizona v. California, 439 U.S. 419, 421 (1979);

Colville Confederated Tribes v. Walton, 647 F.2d 42, 48 (9th Cir. 1981).

        34.     Winters reserved water rights, established with the creation of the reservation and

prior to the allotment of land to individual Indians, are trust assets held by the United States in

trust for the benefit of Indian tribe on particular reservations.

        35.     With the establishment of the 1908 Winters Doctrine, the United States Supreme

Court altered the previous understanding that Indian water rights had to be obtained in compliance

with the state law of the particular state in which a particular Indian reservation was located. It is

now beyond cavil that Winters Reserved Water Rights are not subject to the laws of the State of

Utah, but are governed by federal laws.

        36.     As explained by the Secretary of the Interior to the Committee on Indian Affairs in

his 1914 report to Congress, the principles laid down in Winters are those more specifically

provided for in the Act of March 1, 1899, and require the Government to enforce, protect, and

preserve the Ute Tribe’s senior-priority rights to water.

        37.     The 1922 Colorado River Compact acknowledged the rights of Indian tribes with

Reserved Water Rights in the Colorado River, including the water rights of the Ute Indian Tribe,

and provided that these tribal rights shall not be adversely affected by the multi-state compact

providing for the apportionment of the Colorado River among the Upper and Lower Colorado

River Basins.

                      iv.     1923 Ute Indian Tribe’s Federally-Decreed Reserved Water
                              Rights

        38.     In 1916, as conflicts mounted between the Ute Indians and their non-Indian

neighbors over water allocations in the Lakefork, Yellowstone, Uinta, and Whiterocks Rivers, the

United States filed suit in federal district court to protect the Ute Tribe’s water rights. United



                                                  11
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 16 of 75



States v. Cedarview Irrigation Co., No. 4427 (D. Utah 1923); United States v. Dry Gulch Irrigation

Co., No. 4418 (D. Utah 1923). The federal district court established the apportionment and priority

of the Tribe’s Reserved Water Rights under the Uintah Indian Irrigation Project within the

Colorado River Basin for the Uinta-Whiterocks River sub-basin and the Lake Fork-Yellowstone

River sub-basin, and prohibited non-Indian irrigators from interfering with Tribe’s Reserved Water

Rights designated for distribution to the lands of the Uintah Indian Irrigation Project.

       39.     The court issued two federal decrees affirming Tribe’s Reserved Water Rights for

irrigation of 59,771.69 acres of tribal lands within the UIIP, with a total irrigation diversion duty

of 3.0 acre-feet per year per acre. The court assigned a period of use from March 1 to November

1 annually. The decrees also awarded the Tribe year-round water diversions for domestic,

culinary, and stock watering uses.

       40.     In each of the two decrees, the federal district court concluded that the Tribe has

“the first and an exclusive right under a priority date that antedates the third day of October, 1861”

to divert waters from the subject Rivers. In confirming a priority date for the use of the water that

antedates October 3, 1861, the court acknowledged that the Tribe’s adjudicated water rights are

not subject to state-based water law, but are federal Winters reserved water rights, subsequently

acknowledged and recognized by the Department of Interior. The United States has failed to

manage, administer, and use the Tribe’s water rights as federally Reserved Water Rights in the

exercise of its duty to preserve, protect, and develop these water rights. This has created continuing

problems and has prevented the United States from fulfilling its fiduciary duties as the trustee of

the Tribe’s federal Reserved Water Rights.




                                                 12
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 17 of 75



                                      v. The Decker Report

       41.     In 1960, E.L. Decker, employed by the Tribe, surveyed the lands of the Uintah and

Ouray Reservation and produced a report quantifying the irrigated and irrigable lands,

subsequently revised to correct for errors (“the Decker Report”). The report was subsequently

submitted to the Utah State Engineer as the Ute Indian Tribe’s Book of Claims.

       42.     The Decker Report organized Reservation lands into seven different categories,

based on their use status and source, as follows:

       Group 1: lands included in the Uintah Indian Irrigation Project that have a water
       right decreed by the Federal Court in 1923 from the Lake Fork and Uinta rivers.
       Acreage: 59,222 (reduced by 549 acres from the 1923 Decrees).

       Group 2: lands included in the Uintah Indian Irrigation Project that have a water
       right certified by the State of Utah from the Duchesne River. Acreage: 18,613
       (includes townsites).

       Group 3: lands that are or can be served from the Duchesne River through the
       Uintah Indian Irrigation Project facilities. These lands either have a supplemental
       water right certified by the State of Utah or do not have a water right certificate, but
       have been designated as irrigable. Acreage: 1,115.

       Group 4: lands that have been found to be productive and economically feasible to
       irrigate from privately constructed ditch systems diverting from the Duchesne River
       or its tributaries above Pahcease Canal. Some of these ditches are now in operation,
       while others have not yet been constructed. Acreage: 1,480.

       Group 5: lands that have been found to be productive and economically feasible to
       irrigate, and were proposed to be served from the ultimate phase of the Central Utah
       Project. Acreage: 29,118.

       Group 6: lands lying east of the Green River for which water right applications have
       been filed with the State of Utah to be served from the White River. Acreage:
       5,544.

       Group 7: lands lying east of the Green River that have been found to be productive
       and economically feasible to irrigate from privately constructed ditch systems
       diverting from various streams. Acreage: 14,109.

The total irrigable acreage, consisting of historical, present, and future irrigable lands, identified

in the Decker report (i.e., the sum total of the acreage comprising Groups 1-7) was 129,331 acres.



                                                 13
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 18 of 75



       C.      DUTY AND RIGHTS CREATING SOURCES OF LAW GIVING THE
               UNITED STATES PERVASIVE, COMPREHENSIVE, AND EXCLUSIVE
               CONTROL OVER THE ESTABLISHMENT, MANAGEMENT, AND
               DEVELOPMENT OF UTE WATER RIGHTS, ASSETS, AND
               RESOURCES

       43.     Since the establishment of the Reservation and under subsequent Congressional

Acts, Executive Orders, federal regulations and contracts, the United States has established and

maintained pervasive and comprehensive control over the Tribe’s reserved water rights and water

resources. Duty and rights-creating sources of law which establish pervasive and comprehensive

control over the Tribe’s water rights and water resources, or which otherwise give rise to money-

mandating fiduciary obligations on the part of the United States, include, but are not limited to:

               a. The Act of March 1, 1899, 30 Stat. 941;

               b. The Act of June 21, 1906, 34 Stat. 325;

               c. The Department of Appropriation Act of March 3, 35 Stat. 811 (1909);

               d. The Cedarview Irrigation Company, no. 4427, slip op. (D. Utah 1923) and Dry

                   Gulch Irrigation Company, No. 4418, slip op. (D. Utah 1923), Decrees in

                   Equity No. 4423 & 4418 (March 16, 1923) (“1923 Decrees”);

               e. 22 Fed. Reg. 10479 (Dec. 24, 1957);

               f. The Act of May 28, 1941, 77 Cong. Chpt. 141, 55 Stat. 209;

               g. The Agreement between the Ute Tribe, the United States, and the Central Utah
                  Water Conservancy District, dated September 20, 1965;

               h. National Historic Preservation Act of 1966 (NHPA; Public Law 89-665; 54
                  U.S.C. 300101 et seq.);

               i. The Central Utah Project Completion Act, P.L. 102-575 (1992);

               j. The Cost-Sharing Agreement between the United States and the Central Utah
                  Water Conservancy District, dated August 11, 1993;




                                                 14
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 19 of 75



                k. Cooperative Agreement between the United States of America and the Uintah
                   Indian Irrigation Project Operation and Maintenance Company, dated October
                   1, 2000;

                l. 25 C.F.R. Part 171;

        44.     The rights listed in the preceding paragraph are more fully explained in the

following subsection.

        D.    THE FEDERAL GOVERNMENT’S LOSSES OF, FAILURES TO PROCURE
              AND PROTECT, TRANSFERS OF, CONVERSIONS OF, AND WASTE AND
              MISMANAGEMENT OF THE UTE TRIBE’S WATER, WATER WORKS
              AND RELATED RIGHTS

                  i.      Mismanagement of the UIIP and its Related Water Rights

        45.     In 2016, the UIIP, which was designed to serve about 88,000 acres of allotted lands,

was only delivering irrigation water to approximately 61,000 acres of land, resulting in the annual

waste and non-use of Tribe’s water rights for tribal lands and concomitant economic loss.

        46.     This non-irrigated UIIP acreage is attributable to mismanagement of the UIIP and

associated lands and water rights by the United States. Such mismanagement includes, but is not

limited to, the failure to provide storage, unlawful transfers of water rights under the color of the

1941 Act, deferred UIIP maintenance, and the current designation of UIIP lands as either

permanently non-assessable or temporarily non-assessable.

              a. Development and Construction of the Uintah Indian Irrigation Project

        47.     In the Act of June 21, 1906, the United States Congress authorized the construction

of irrigation systems to irrigate “the allotted lands of the Uncompahgre, Uintah, and White River

Utes in Utah.” The Congressional authorization stated

        [t]hat such irrigation systems shall be constructed and completed and held and operated,
        and water therefor appropriated under the laws of the State of Utah, and the title thereto
        until otherwise provided by law shall be in the Secretary of the Interior in trust for the
        Indians, and he may sue and be sued in matters relating thereto[.]




                                                 15
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 20 of 75



        48.     Through its special relationship with the Tribe and the establishment of the

Reservation, the irrigation system constructed under the 1906 Act for the Indians is communal

property of the Tribe from which the Tribe itself and individual allottees and their successors

receive a benefit, and title to the UIIP at all times has been and remains held by the United States

as a trust asset of the Tribe.

        49.     The Indian irrigation project authorized under the 1906 Act is now known as the

Uintah Indian Irrigation Project. The Project was to be designed and constructed to benefit the

Ute Indians.

        50.     Pursuant to the 1906 Act, the Bureau of Indian Affairs designed an Indian irrigation

system to irrigate about 88,000 acres of allotted land (“UIIP Lands”), via an extensive system of

canals and ditches to convey water from three river drainages: the Strawberry-Duchesne,

Lakefork-Yellowstone, and the Uintah-Whiterocks rivers. In 1914, the Secretary of the Interior

reported to Congress that construction had been completed on eighteen principal ditches to irrigate

the 88,000 acres.

        51.     In preparation for the Congressional authorization to construct an irrigation system

for the Ute Indians, and prior to the 1908 Winters decision, the United States in 1905, through the

BIA, applied to the Utah State Engineer for the appropriation of water from the State of Utah for

the UIIP. Some ten years later, the State issued water right certificates to the United States Indian

Service, to hold the water rights in trust for the benefit of the Tribe.

        52.     Proof of beneficial use of waters on the Reservation was only made by the Indian

Service with the State Engineer, on behalf of the Tribe, for the Indian allotments and former

allotments, which resulted in the State Engineer issuing certificates of proof for 78,950 acres. On

information and belief, no further effort was made by the United States to conserve, preserve, and




                                                  16
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 21 of 75



confirm the water rights for the other approximately 10,000 acres of allotted lands that were to

receive water under the UIIP. Further, the United States completely ignored the future needs of

the Tribe and its members for the waters of the Reservation for irrigation and other purposes. The

early efforts to establish the Reservation as a permanent homeland for the Ute Tribe has never

recovered from the United States’ failure to preserve and protect the waters of the Reservation for

the Tribe and its members.

        53.     Upon information and belief, more than half of the trust lands under the UIIP are

currently held in trust by the United States on behalf of either the Tribe or individual Indian

allottees or their successors in interest.

        54.     In the early years of the UIIP, the United States initiated a program to level, clear,

plow, and fence the Indian allotments to get them into cultivation.

        55.     Construction continued through about 1922, at which time the UIIP was considered

to be essentially completed, except for construction of a storage facility. In 1956, a total of 78,086

acres were being assessed by the Indian Irrigation Service for water deliveries to farms, including

both tribal trust lands and allottee lands. There was an additional 15,297 acres of non-Indian water

rights that were served through contractual agreements with private irrigation companies in which

the UIIP delivered water to such companies and private systems.

        56.     Although numerous Indian allottees at this time did not benefit from the UIIP, the

United States nonetheless continued to assess Indian allottees for UIIP construction and

maintenance charges each year since 1915. Then, when allottees became delinquent on UIIP

assessments, no water was delivered to the Indian lands, and the indebtedness accumulated, which

led to a loss of Indian-owned lands through the forced sale of these lands without any monetary




                                                  17
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 22 of 75



benefit to the allottees. This ultimately resulted in a significant reduction in Indian-owned lands

that were meant to be included in the UIIP.

                b.      Failure to Provide Storage

         57.    At the time the UIIP was authorized, and at all times relevant thereafter, the United

States was aware of non-Indian private irrigation activities to construct storage facilities in the

Uinta Basin that would interfer with the natural flows of the Lakefork and Uinta Rivers—rivers

whose natural flows have always been insufficient to meet the irrigation needs of the Tribe and its

members.

        58.     In its 1916 Bill of Complaint to adjudicate a portion of the Tribe’s Reserved Water

Rights, the United States acknowledged that insufficient natural flow exists in the Uinta-

Whiterocks and Lake Fork-Yellowstone River Basins to properly irrigate Indian lands. The United

States attested to the court that

        [t]he water supply of said Uintah River, except when said river is at stages of high
        flow, is and at all times has been insufficient to supply the needs of the United
        States and said Indians for the irrigation of the irrigated lands . . . with the
        consequence that the waters of said river, unless conserved by storage, will become
        progressively less able to supply the needs of the United States and of said Indians.
        . . . (emphasis added).

        59.     The United States also relied on the Congressional legislation creating the

Reservation, in which the United States set apart lands “at the head-waters of the streams . . .

as forest reserve lands, [so that] “the water supply [for the] Indians would be maintained,” and

reserved tracts for such reservoir sites.

        60.     The federal district court adopted the United States’ position that storage was

essential to preserve and protect the water supply for the irrigation needs of the Indians, and

recognized that reservoirs would be required, and that the UIIP would construct storage to

serve the tribal lands. The court did so by providing for an eight-month period of use annually



                                                 18
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 23 of 75



beginning on March 1st and running through November 1st—a period of use that extends the

Tribe’s ability to divert and use the waters from the designated rivers almost two months longer

than water delivered by natural flow via the canals and ditches of the UIIP.

       61.     The United States knew at the time of the 1916-1923 water rights adjudication

that the water duty assigned by the federal court for purposes of irrigating the designated Indian

trust lands, that is, 3.0 acre-feet per acre per year, was insufficient to satisfy the agricultural

water needs of the Indian trust lands—resulting in either a failure to protect and preserve

sufficient water supply for the Ute Tribe’s agricultural efforts to succeed, or the United States

expected that storage would be constructed to supplement the deficient direct natural flow

water duty.

       62.     Numerous past and present studies have shown that a diversion duty of 4.0 acre-

feet per acre per year (33% more than that issued in the federal decrees) is the amount of water

actually needed to provide proper irrigation for economically beneficial agricultural pursuits.

Upon information and belief, the insufficiency of the 3.0 acre feet per acre per year water duty was

known by the United States at the time the 1923 decrees were issued.

       63.     Several quantifications of tribal water shortages have been computed over the past

century. Water shortages on these lands are frequent: on average, seven (7) to eight (8) years out

of ten (10) the Tribe and its members experience water shortages.

       64.     The Ute’s Tribe’s Reserved Water Rights that cannot be diverted to non-existent

storage before the irrigation season begins and after the season ends (that is, March 1 to November

1) are wasted, lost, and flow downstream to be used by non-tribal, state-based water users and/or

by non-Indian water users, including in the Lower Basin of the Colorado River, as surplus water,

without any economic benefits to the Tribe.




                                                  19
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 24 of 75



        65.     Well-documented water shortages support the conclusion that the United States’

trust responsibility to the Tribe includes the obligation to provide for tribal water storage in order

to both (1) preserve, protect, and develop the Reserved water rights awarded in the 1923 Decrees

and (2) supplement these decreed water rights, as needed, so that there is sufficient water available

for full irrigation of all lands served by the UIIP.

        66.     No tribal water storage for the lands under the Uintah Indian Irrigation Project

exists today. Defendant has failed to provide tribal storage for its 1923 federally-decreed Reserved

Water Rights, resulting in substantial economic losses to the Tribe and its members.

        67.     Storage, combined with natural flow, is the only way the Tribe can fully develop

its Reservation lands and put its Reserved Water Rights to use. Unfortunately, a review of federal

support for the development of storage on the Reservation leads to the clear conclusion that the

United States has engaged in a course of conduct that consistently places the needs of non-Indian

water users ahead of the needs of the Ute Indian Tribe.

        68.     The need for tribal storage for the trust lands irrigated under the Uintah Indian

Irrigation Project has been clearly and repeatedly documented for over 100 years, since the early

20th Century. An extensive historical record supports the conclusion that the Federal Government,

through both the BIA and the Bureau of Reclamation (“Reclamation” or “BOR”), has long known

and recognized the fact that both storage and natural flows are needed to fully develop and use the

Tribe’s Reserved Water Rights, and, in fact, that the Tribe’s Reserved Water Rights and the trust

resources upon which these Reserved Water Rights depend have suffered from poor Government

management.




                                                  20
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 25 of 75



               c. Unlawful Secretarial Transfers of Water Rights

       69.     In the Act of May 28, 1941, 55 Stat. 209, Congress authorized the Secretary to

“transfer water rights, with the consent of the interested parties, to other lands under [the UIIP]

and to make necessary contracts to effectuate such transfers.” (emphasis added) As the beneficial

owner of the water conveyed through, and lands served by, the UIIP, the Tribe is obviously an

“interested party” within the meaning of the 1941 Act. The intent of the Act was to preserve the

water rights serving the UIIP “by transferring those rights to more desirable lands. Water rights

from Indian-owned poor lands would be transferred to better lands in Indian ownership, and similar

rights as to non-Indian lands would be transferred to more desirable non-Indian lands.”

       70.     The 1941 Act contributes to the United States’ comprehensive and pervasive

control over the transfer of Tribe’s Reserved Water Rights under the UIIP.

       71.     The Ute Tribal Business Committee opposed the 1941 Act because they believed

would be the confiscation of the Tribe’s water rights for their Indian lands and its use for the

Central Utah Project, creating a threat to the Tribe’s economic well-being unless sufficient water

rights to adequately cover all irrigable trust lands were retained. The Tribal Business Committee

therefore passed a resolution objecting to the water transfers, and asked the Secretary to take steps

to protect Indian Reserved Water Rights. The Business Committee’s fear that the United States

would not protect Tribe’s water rights has been borne out over time and up to the present time.

       72.     On information and belief, the United States violated its trust obligations to the

Indians and perverted the Congressional intent and authority under the 1941 Act by making false

promises to Indian landowners and adversely influencing and pressuring Indian landowners to

place tribal lands into a permanently non-assessable (“PNA”) status, Class III, under the UIIP.

The Government then transfered the Indian landowners’ rights—i.e., the right to use Tribe’s




                                                 21
           Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 26 of 75



Reserved Water Rights assigned to their lands for irrigation purposes and other purposes—to other

lands. On information and belief, the United States told the Tribe and its members that if the Tribe

and its members acquiesced in placing tribal lands into the PNA Class III land status, the Tribe

and its members would be able to sell their water right or transfer it to other tribal lands. Based

on the United States’ lack of full disclosure, the Tribe and its members understood that they could

keep their tribal water rights indefinitely.

          73.   On information and belief, the United States even conditioned its authority under

the law to suspend or defer irrigation charges assessed against the Indian property under the UIIP

to threaten and compel the Indians to consent to the extinguishment and loss of their tribal water

rights.

          74.   However, on information and belief, once placed in PNA status, the United States

transferred the use of the Indian Reserved Water Right to lands other than those owned by the

Tribe and its members. On information and belief, neither the Tribe nor its members knowingly

consented or entered into agreements for the transfer of tribal water off of Indian allotments and

tribal trust lands (including the federally-decreed water rights designated for their lands), and such

transfers eliminated the ability of the Tribe and its members to irrigate allotted and tribal trust

lands. Further, the United States failed to fully disclose that, without appurtenant tribal water, the

value of the Indian allotments and tribal lands without the Tribe’s water rights would be

significantly decreased after the Secretary’s water rights’ transfers, and, in fact, would be

worthless. The Government, however, knew and admitted at the time that the Tribe and its

members lacked full knowledge and understanding of their rights. The Indians who lost their right

to use the Tribe’s water to irrigate their lands under the UIIP were not only deceived by the

Government, but were not justly compensated for this loss. Many of the Indian lands placed into




                                                 22
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 27 of 75



PNA Class III status were later deemed incapable of supporting irrigation, either because the

United States failed to complete construction of UIIP canals, ditches, and other water works to

these Indian trust lands, or because the United States failed to make timely repairs and to

rehabilitate UIIP water works so as to facilitate the delivery of water to these farm headgates.

        75.    The Secretary transferred the Tribe’s water rights from about 10,000 acres of trust

lands placed into PNA Class III, non-irrigable lands under the UIIP, to other lands, some of which

were non-Indian lands both on and off the Reservation, resulting in the loss of a significant amount

of Tribe’s Reserved Water Rights for the use of the Tribe and it members annually. This included

water rights for some of the Tribe’s aboriginal lands. At all times, the United States was acting as

the trustee of the Reserved Water Rights for the Tribe.

        76.    The Secretarial transfers of the Tribe’s water rights under the UIIP pursuant to the

1941 Act resulted in the Tribe’s water rights being transferred from Indian lands to non-Indian

lands under the UIIP and from Indian lands on the Reservation to non-Indian lands outside of the

UIIP.

        77.    A Congressional House Report also reported that Indian farmers within the UIIP

were suffering from economic underdevelopment because certain lands within the UIIP were less

suitable for farming, and the UIIP was in a “desperate economic situation.”

        78.    The Indians were not compensated for the loss in the value of their lands due to the

Secretary’s water rights’ transfers from their lands, and the unlawful water rights’ transfers have

resulted in the significant loss in irrigated lands under the UIIP, as well as the ability to use the

Reserved Water Rights for other purposes.

        79.    The Secretary of the Interior failed to keep the paramount rights of the Ute Indians

to the waters of the streams on the Reservation in mind, as he was required to do, when transferring




                                                 23
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 28 of 75



the Tribe’s water rights for irrigation and other purposes to non-Indian lands on and off the

Reservation. In short, the United States failed to protect the rights and interests of the Indians to

their current and future water needs.

       80.     In spite of knowledge that the 1923 federal water rights decrees provide an

enforceable protection for the Tribe’s Reserved Water Rights under the UIIP against secondary

priority, state-based water users in the basin, the Secretary of the Interior has operated the UIIP for

by annually providing the Utah State Water Commissioner with the actual acres that are currently

being cropped to determine the amount of water that will be delivered during the irrigation season.

The Secretary has done so with full knowledge that the Utah State Engineer, in contrast, was

providing the State Water Commissioner with a list of the certified acreages for which water rights

were to be delivered to non-Indian lands with secondary priority water rights without properly

account for whether all the certified acreages of the non-Indian lands remained under production.

This management strategy has significantly benefitted the non-Indian, secondary water rights

holders under the UIIP (by ensuring that more water was available in the natural flow for the

secondary water users), but it has significantly failed to benefit and protect the Tribe and its

members under the UIIP.

       81.     In addition, the United States has made little to no effort to reduce the excessive

seepage in the UIIP canals that results in significant Indian Reserved Water Rights losses and

waste while sorely needed for the Indian trust lands under the UIIP.

               d. Deferred Maintenance of the UIIP

       82.     From the construction of the UIIP to the present, the BIA has been the party

ultimately responsible for the operation and maintenance of the UIIP.




                                                  24
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 29 of 75



        83.    Specific and comprehensive Federal regulations governing the BIA’s operation and

maintenance of the UIIP were promulgated prior to 1957 as 25 C.F.R. Part 121, and subsequently

renumbered as Part 199 on December 24, 1957, 22 Fed. Reg. 10479, 10637-38 (Dec. 24, 1957)

(“1957 regulations”). These regulations applied specifically to the UIIP and reinforced the BIA’s

pervasive and comprehensive control of the UIIP.

        84.    The 1957 regulations continued a system for the assessment of operation and

maintenance fees payable by landowners within the UIIP. The regulations provided that “Bills for

the yearly assessment of construction and operation and maintenance charges will be issued each

year for the record owner of land within the project,” with an “annual per-acre charge for operation

and maintenance…levied against the entire irrigable area of each farm unit or allotment to which

irrigation water can be delivered from present constructed works.”

        85.    In addition to establishing a system for assessing operation and maintenance fees,

the federal regulations reinforced the United States’ pervasive and comprehensive control over the

UIIP. Section 199.20 of the regulations stated that “[n]o persons other than those specifically

designated by the project engineer are authorized to regulate project structures or to interfere in

any way with project-operated canals or any works appurtenance thereto or to the water flowing

therein.” The term “project engineer” was in reference to the BIA engineer charged with

implementing the regulations.

        86.    The federal regulations also required the BIA to deliver water to “one point on the

upper boundary of each farm unit on the project,” and to “maintain the lateral system to said

delivery point.” These requirements confirmed that the United States’ pervasive, comprehensive,

and exclusive control over UIIP operations extended up to the property boundaries of individual

irrigators.




                                                25
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 30 of 75



       87.     In 2008, the United States promulgated regulations governing the operation and

maintenance of all Indian irrigation projects administered by the BIA, including the UIIP. The

United States’ exclusive responsibilities relating to the operation of the UIIP, as reinforced by the

prior federal regulations, remain in full force and effect in the 2008 regulations.

       88.     On October 1, 2000, the United States and a private company known the Uintah

Indian Irrigation Project Operation and Maintenance Company (“O&M Company”), entered into

a Cooperative Agreement, in which the O&M Company assumed responsibility over the day-to-

day operation and maintenance of the UIIP.

       89.     The O&M Company is not owned or in any way controlled by the Tribe. It is a

private company functioning as an arm of the Federal Government by assuming some of the

responsibilities normally delegated to the BIA.

       90.     The Cooperative Agreement expressly states that the BIA’s trust responsibility

toward the UIIP remains fully intact despite the O&M Company assuming day-to-day operation

and maintenance tasks, and that the United States retains its legal ownership of the UIIP.

       91.     Further, the Cooperative Agreement provides the BIA with a substantial degree of

oversight authority over the O&M Company’s activities. For instance, under the Cooperative

Agreement, the O&M Company is required to produce an Annual Operating Plan each year

containing a comprehensive work and budget plan for the year. This Annual Operating Plan must

be approved by the BIA.

       92.     The BIA also remains responsible for UIIP recordkeeping, billing, and collections

of the annual O&M fees from UIIP water users, and for negotiating and executing carriage

agreement.




                                                  26
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 31 of 75



      93.      Over the past several decades, as a direct and proximate result of inadequate

maintenance by the United States, the UIIP has fallen into a grave state of disrepair.

       94.     In 1982, HKM Associates prepared a Rehabilitation and Betterment Plan for the

UIIP that was submitted to the BIA. In its Rehabilitation and Betterment Plan, HKM Associates

concluded that 84% of UIIP structures were in need of rehabilitation. HKM ASSOCIATES, UINTAH

INDIAN IRRIGATION PROJECT REHABILITATION         AND   BETTERMENT PLAN at 12-13 (Sept. 1982).

HKM Associates further concluded that of the 651 miles of UIIP waterways, 387 miles required

reconstruction, 20 miles required concrete lining, and 11 miles required installation of pipelines.

Id. at 13. Brush removal was required on 260 miles of UIIP waterways. Id. HKM also found

rehabilitation needs in operation and maintenance roads running along approximately 132 miles

of UIIP canals, as well as the need to install approximately 288 lineal miles of fence along main

canals in order to “control access to UIIP waterways.” Id.

       95.     The HKM report noted substantial erosion on UIIP waterways, infestation of brush

and trees in the bank areas of UIIP waterways, sections of UIIP canals damaged by livestock, and

excessive water seepage. Id. at 11. These and other suboptimal conditions have diminished UIIP

efficiency and prevented the UIIP from delivering water to a portion of UIIP Lands.

       96.     In 1988, both the tribal engineer and the Department of Interior recommended

$75,000,000 to rehabilitate the UIIP. In 1989, a detailed BIA analysis of the UIIP’s financial

operation revealed that the UIIP’s annual income amounted to only 50% of the Project’s operations

and maintenance (O&M) needs. At the time of the 1992 legislation, the UIIP’s O&M cost the

Bureau approximately $700,000 per year, but the UIIP was bringing in only roughly $525,000 per

year in assessments. The BIA recommended that it contract the O&M under a cooperative

agreement or grant in order to relieve the UIIP of the federal rules and regulations that prevented




                                                27
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 32 of 75



flexibility in controlling UIIP costs, and the recommendation was incorporated into Title II of

Central Utah Project Completion Act (P.L. 102-575) (“CUPCA”). The Secretary of Interior,

however, retains trust responsibilities to the UIIP. Richard C. Whitesell, Acting Deputy to the

Assistant Secretary of Indian Affairs, testified at a 1988 Congressional hearing on H.R. 5307 that

rehabilitation of the UIIP was one of four “remaining issues” that needed to be resolved with regard

to the Tribe’s water rights and resource development issues.

       97. In 2008, a report issued by the BIA asserted:

       The Uintah [Indian] Irrigation Project has deferred maintenance needs in excess of
       $86.1 million to bring the aging, deteriorated infrastructure up to current standards.
       The majority of our diversion structures lack any safety features to keep personnel
       safe while operating gates and cleaning debris for the upstream side of the
       structures. There is no fencing or gates to prevent the general public from getting
       on any of our structures of features.

U.S. Dept. of Interior, BIA, Western Region, “Operation and Maintenance Guidelines: Uintah

Indian Irrigation Project, Uintah and Ouray Agency” (Dec. 23, 2008).

       98.     The Tribe has yet to see the comprehensive rehabilitation of the UIIP promised by

the United States. The poor condition of the UIIP has resulted in the inability of the UIIP to deliver

available water to irrigable lands within the Project. The UIIP’s disrepair has also been a

contributing factor in UIIP lands being designated as temporarily non-assessable or permanently

non-assessable.

       99.     One cause of wear and tear on the UIIP is the use of UIIP facilities to deliver a

significant amount of water to non-Indian secondary water users outside of the UIIP pursuant to

carriage agreements.

       100.    A review of carriage agreements executed by the BIA for the use of UIIP facilities

to deliver water outside the UIIP suggests that the United States has neither reviewed, nor

renegotiated, the carriage agreements in decades. That is significant, in part because some of the



                                                 28
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 33 of 75



carriage agreements set a fixed annual per-acre rate for the operation and maintenance fee assessed

to the recipient of the water. Other carriage agreements require the recipient of water to pay only

a small portion of the per-acre operation and maintenance fee assessable to UIIP lands. In either

case, operation and maintenance fees under these carriage agreements are not commensurate with

current operation and maintenance fees assessed to UIIP lands.

        101.    The United States’ failure to complete construction of the UIIP has prevented the

Tribe from establishing a viable agricultural economy that can contribute to the purpose of the

Reservation as a permanent homeland for the Tribe and its members.

                e. Designation of UIIP Lands as Temporarily or Permanently Non-Assessable

        102.    Since the time the BIA began operating a system to irrigate 78,950 acres of land,

the BIA has designated a substantial portion of this designated acreages as either temporarily non-

assessable (“TNA”) or permanently non-assessable (“PNA”).

        103.    According to the BIA’s 2008 National Irrigation Handbook, the primary reasons

for designating lands as TNA or PNA are limiting factors such as topography, soil conditions, or

the inability of the project to deliver water.

        104.    These TNA/PNA lands are lands that have been deemed by the BIA as either

temporarily or permanently incapable of being irrigated under the UIIP, despite being included

within the acreage that was initially designated by the BIA to be irrigated under the UIIP.

        105.    These TNA/PNA designations have resulted in a reduction in irrigated acreage

under the UIIP, which has an adverse economic impact on the Tribe and its members. Further, as

a result of these TNA/PNA designations, there is less funding available to maintain the UIIP, as

the operation and maintenance fees assessed to landowners within the UIIP is based on the amount

of presently assessable acreage within each landowner’s parcel. 25 C.F.R. § 505.75. Therefore,



                                                 29
           Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 34 of 75



when land within the UIIP is deemed non-assessable, there is a corresponding reduction in the

funding available to operate and maintain the UIIP. This, too, has had an adverse economic impact

on the Tribe and its members.

       106.      A significant portion of UIIP acreage designated TNA or PNA is directly

attributable to the mismanagement of the UIIP by the United States, including, the United States’

failure to sufficiently maintain and rehabilitate UIIP Lands and UIIP facilities.

       107.      A disproportionately high portion of the UIIP Lands designated as TNA or PNA

are Indian trust lands, owned either by the Tribe or tribal members. While tribal and allotted lands

comprise over half of the UIIP Lands, on information and belief, the tribal and allotted lands

comprise over 98% of the UIIP Lands that are currently in TNA status. Similarly, on information

and belief, tribal and allotted trust lands comprise over 93% of the UIIP Lands that are currently

in PNA status.

       108.      Because poor UIIP maintenance and rehabilitation causes lands to become non-

assessable, the disproportionately high representation of tribal and allotted trust lands within the

UIIP designated as TNA or PNA supports the conclusion that the UIIP operation and maintenance

fees have been used over the life of the UIIP to the disproportionate benefit of non-Indian fee

landowners receiving Reserved Water Rights under the UIIP, as well as the delivery of water for

non-Indian, secondary water rights holders through formal and informal carriage agreements with

the BIA.

                 f. Midview Exchange Agreement

       109.      In 1967, the United States entered into an agreement with the Tribe and an

organization of non-Indian, secondary water rights irrigators, known as the Moon Lake Water

Users Association (“Association”), providing for water right exchanges and transfer of irrigation



                                                 30
        Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 35 of 75



facilities (n/k/a the Midview Exchange Agreement or “Midview Exchange”). Under the Midview

Exchange, the BIA transferred a portion of the Tribe’s 1923 federally-decreed Reserved Water

Rights in the Lake Fork River to the BOR “for the use and benefit of the Moon Lake Project.” As

set forth in the 1923 Decrees, these Winters reserved water rights have a priority date of October

3, 1861. The Midview Exchange guaranteed that the minimum Association acreage to be served

by the Lake Fork River “shall not be less than” the total acreage serving the UIIP from the

Duchesne River, but “in no event less than 7,500 acres”—providing the Association with a

minimum acreage of 1861 Reserved Water Rights regardless of whether the UIIP was irrigating

fewer acreages, primarily trust lands, under the agreement.

         110. In exchange for the transfer of a portion the Tribe’s Winters reserved water rights

in the Lake Fork River, BOR agreed to transfer to the BIA for the use and benefit of the UIIP, two

state-based water rights in the Duchesne River, with inferior priority dates of June 22, 1918, and

August 3, 1922.

         111. The Tribe’s receipt of state-based water rights under the exchange is significant

because, in contrast to Winters reserved water rights, the state-based water rights that the Tribe

received under the exchange can be lost and forfeited through non-use under Utah state law.

         112. As part of the agreement to transfer the Tribe’s senior-priority, Reserved Water

Rights for the use and benefit of the Association, BOR and the Association agreed to transfer the

right, title, and interest in the Midview Dam and Reservoir, Duchesne Diversion Dam, Duchesne

Feeder Canal, and Midview Lateral together with all facilities and property appurtenant thereto

(collectively, the “Midview Property”) to the BIA to operate and maintain “as part of the [UIIP],”

including the making of necessary replacements. The Midview Exchange provided that “[s]uch




                                               31
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 36 of 75



transferred works shall become part of the project works of the Uintah [Indian Irrigation] Project.”

The Midview Property includes 655.50 acres underlying the Dam and Reservoir.

        113.    Because the Midview Property was to be transferred to the BIA as part of the

UIIP—a tribal trust asset held by the United States in trust for the Tribe’s benefit—the Tribe was

promised and understood that the Tribe would hold equitable title to the Midview Property. The

United States, however, has never transferred the Midview Property to the UIIP as a tribal trust

asset. The United States, therefore, has breached its contractual obligation under the Midview

Exchange, violated its fiduciary duties to the Tribe, and violated federal law.

        114.    Additionally, on information and belief, as a result of the BIA’s decisions to

designate Indian trust lands served under the Midview Exchange as temporarily non-assessable or

permanently non-assessable—and thus ineligible to receive water for some of the irrigated lands—

about 1,500 acres of trust lands are no longer irrigated under the Midview Exchange. Meanwhile,

the Moon Lake Water Users Association continues to use the Tribe’s Reserved Water Rights in

the Lake Fork River to serve the 7,500-acre minimum set forth in the Midview Exchange.

        115.    The Midview Exchange has been and continues to be an inequitable exchange for

the Tribe and other trust land irrigators. The United States has failed to address this inequity,

which has resulted in, and continues to result in, substantial economic losses to the Tribe and other

trust land irrigators.

        116.    In 1968, the parties to the Midview Exchange signed a Transfer Agreement

providing for the internal transfer of the Midview Property from BOR to the BIA to become part

of the UIIP, stating:

        Pursuant to Article 8 of the [Midview Exchange], the Bureau of Reclamation and
        the Moon Lake Water Users Association hereby transfer· to the Bureau of Indian
        Affairs the jurisdiction of the right, title, and interest in and to the Midview Dam




                                                 32
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 37 of 75



       and Reservoir, Duchesne Diversion Dam, Duchesne Feeder Canal, and Midview
       Lateral together with the facilities and property appurtenant thereto.

       117.    Through the 1968 Transfer Agreement, the BIA expressly accepted jurisdiction

over the Midview Property and agreed to “operate and maintain said facilities including necessary

replacements as a part of the Uintah Indian Irrigation Project.”

       118.    Unbeknownst to the Tribe, the United States never completed the underlying

paperwork to formally transfer the Midview Property from BOR to the BIA. The Tribe did not

learn of this omission until the BIA was asked to approve an easement for rights-of-way (“rights-

of-way”) to Duchesne County in 2014.

       119.      The purpose of the rights-of-way to Duchesne County was for the “construction,

maintenance, repair, inspection, protection, operation and removal” of a new culinary water

pipeline known as the Victory Pipeline. In 2014, the United States issued rights-of-way to

Duchesne County to access lands within the Midview Property, notwithstanding the Tribe’s

objection to the rights-of-way which the Tribe had made known to the BIA. The BIA neither

obtained the Tribe’s consent to the right-of-way, nor ensured that the Tribe received just

compensation for the right-of-way. The United States has refused to recognize, and in fact, has

denied the trust status and the Tribe’s beneficial ownership of the Midview Property.

       120.    The Tribe also has not received a significant benefit of its bargain under the

Midview Exchange, nor, on information and belief, has it been fairly compensated for the promise

to construct the Taskeech Reservoir on Lake Fork by the United States as a feature of the Upalco

Unit of the Central Utah Project. If constructed, the Taskeech Reservoir would have provided

storage for the Tribe’s water rights, as well as obligated the Association to transfer to the Tribe all

of its right, title, and interest in and to the Twin Pots Reservoir with a ten-second-foot carriage

right through the Farnsworth Canal to the reservoir, and the Tribe was denied compensation for a



                                                  33
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 38 of 75



right-of-way across Indian land to a portion of the Farnsworth Canal that the Midview Exchange

promised the Association.

       121.    Because the Midview Exchange provided for the conveyance of title to adjudicated,

Tribe’s Reserved Water Rights under the UIIP, the Midview Exchange is an illegal conveyance of

tribal trust property under 25 U.S.C. § 177. Yet, the parties to the Midview Exchange, including

the BIA, continue to satisfy the terms of the Midview Exchange as if the Exchange is legally

efficacious when it is not.

       122.    In 2016, the Bureau of Indian Affairs, responding to a formal request by the tribal

leadership, the Ute Tribal Business Committee, informed the tribal leadership that it would not

hold the Midview Property as a tribal trust asset, as promised to the Tribe in the Midview

Exchange, but instead, would continue to hold the property as government fee property. Efforts

by the tribal leadership to convince the BIA otherwise have been unsuccessful.

       123.    On information and belief, the UIIP remains burdened by its obligation to deliver

water to stockholders in the Association through UIIP facilities at only the cost of operation and

maintenance fees charged to the Indian users of the UIIP; no additional costs for the carriage of

water to non-Indian Association water users are charged to support the rehabilitation and

betterment of the UIIP, which has documented significant deferred maintenance needs.

       124.    In violation of the Midview Exchange, the BIA is now using water from the

Midview Reservoir to irrigate lands other than those designated for irrigation under the Midview

Exchange, in particular, lands under the Pahcease canal which has a direct flow right from the

Duchesne River. The BIA’s diversion of water to other lands reduces the amount of stored

Duchesne River water that the Tribe is entitled under the Agreement to use for purposes other than

irrigation, resulting in economic loss to the Tribe.




                                                 34
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 39 of 75



         ii.    Unlawful Action/Inaction by the United States Relating to the 1965 Deferral
                Agreement

         125. The purpose of the land classifications set forth in the 1960 Decker Report was to

determine the full apportionment of the Tribe’s Reserved Water Rights from the Colorado River

Basin and its effect on, or interference with, the development of the Central Utah Project (“CUP”),

a major project to develop Utah’s apportionment of water from the Colorado River Basin.

Construction of the CUP was authorized by Congress in the Colorado River Storage Project Act

of 1956, with construction to be the responsibility of the BOR.

        126.    The CUP was sponsored by the Central Utah Water Conservancy District

(“CUWCD”), a political subdivision of the state of Utah.

        127.    The central component of the CUP is the Bonneville Unit, a substantial trans-basin

water delivery project designed to move water from various Reservation streams in the Uintah

Basin across the Wasatch Mountains to the Wasatch Front (a metropolitan region in Utah

containing several contiguous cities, including Salt Lake City, Provo, Ogden, and others).

        128.    The feasibility of the Bonneville Unit depended upon the diversion and transfer of

water from the Uintah Basin, in particular, the Duchesne River, to the Bonneville Basin. However,

the state water targeted for transfer via the Bonneville Unit had a later priority date than the Tribe’s

Winters reserved water rights, including waters designated to serve the Tribe’s Group 5 lands in

the Decker Report, which are sourced, in part, from the Duchesne River.

        129.    The CUWCD knew that the United States Congress would not fund the Bonneville

Unit without the Ute Tribe’s agreement to defer the development of a portion of the Tribe’s Group

5 lands, sourced from the Duchesne River. Therefore, on September 20, 1965, the CUWCD

entered into an agreement with the Tribe and the BIA, whereby the Tribe agreed to defer the

development and use of its Reserved Water Rights for the development of 15,542 acres of the


                                                  35
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 40 of 75



29,118 acres of Group 5 lands, quantified in the Decker Report; this in turn allowed the State of

Utah and the Department of Interior to secure funding for the Bonneville Unit of the CUP by

certifying to Congress that there were uncontested water rights for the Bonneville Unit and it could

proceed with construction without the Tribe’s interference or adverse claims against the State and

CUP (“1965 Deferral Agreement”).

       130.    The parties to the 1965 Deferral Agreement understood and agreed that a

substantial part of the quid pro quo for the Tribe’s agreement to defer development of 15,542 acres

of its Group 5 lands was the other parties’ “full and complete recognition of the Tribe’s Reserved

Water Rights as quantified in the Decker report and described in the Book of Claims filed with the

State Engineer, State of Utah, by the Ute Indian Tribe, without resort to litigation.” (emphasis

added) Stated differently, construction of the Bonneville Unit could only proceed because the

Tribe had received stipulations from the United States and the State of Utah, through its

instrumentality, the CUWCD, that the apportionment of the Tribe’s Reserved Water Rights from

the Colorado River Basin would be as described for Groups 1-7 in the Decker Report, and that the

Tribe’s Reserved Water Rights would have priority dates consistent with the Winters Doctrine,

and would not be adjudicated in any contested court proceeding.

       131.    The Tribe’s bargained-for consideration in entering the 1965 Deferral Agreement

also included the United States’ promise to provide supplemental water and to address the Tribe’s

need for water storage. The United States agreed that the planned Upalco and Uintah Units of the

CUP would provide the stored water desperately needed by the Tribe for the delivery of its

Reserved Water Rights for the UIIP. In Section 10 of the Agreement, the Tribe was promised

storage as part of the development of the Uintah Unit to provide supplemental water to the 34,152

acres of UIIP lands from the runoff waters of the Uinta and Whiterocks rivers in Group 1. The




                                                36
        Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 41 of 75



development of storage under the Uintah Unit was to be “programmed for early authorization and

construction.”

       132.      The cornerstone of the Tribe’s participation in the 1965 Deferral Agreement was

the promise that the Ultimate Phase of the CUP would provide supplemental and full service water

to the Tribe’s lands comprising groups 1-5 of the Decker Report. In a 1988 Memorandum from

Regional Solicitor William Robert McConkie to the Superintendent of the Uintah and Ouray

Agency of the BIA, Solicitor McConkie stated that it was “the intent that the ultimate phase of the

Central Utah Project would supply supplemental water and full service water, as applicable, to all

Indian water right lands in Groups 1 through 5” (emphasis in original). The parties understood

that one indispensable component of the Ultimate Phase of the CUP was the construction of the

Ute Indian Unit, which was to divert water from the Green River and transport it to supplement

the Upalco, Uintah, and Bonneville Units. Construction of the Ute Indian Unit was the only way

the Tribe’s storage needs could be fully satisfied through Uintah and Upalco Units. It was also the

only way the Tribe’s Group 5 lands could receive full-service irrigation water from the Bonneville

Unit. The Ute Indian Unit was, thus, a lynchpin of the United States’ promises to the Tribe under

the 1965 Deferral Agreement.

       133.      Paragraph 5 of the 1965 Deferral Agreement established a forty-year timeframe for

completion of the ultimate phase of the CUP, stating:

       If the ultimate phase of the Central Utah project is not completed sufficiently to
       supply said Indian water rights by the 1st day of January, 2005, equitable
       adjustment will be made in accordance with said reserved and perfected water
       rights or the tribe to permit the immediate Indian use of the water so reserved. It is
       agreed that the first day of January, 2005, shall be mutually considered as the
       maximum date of deferment and that all phases of the Central Utah project will in
       good faith be diligently pursued to satisfy all Indian water rights at the earliest
       possible date.




                                                 37
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 42 of 75



The terms “all Indian water rights” as used in Paragraph 5 of the 1965 Deferral Agreement refers

to the full apportionment of the Tribe’s Winters reserved water rights recognized by the Tribe and

the State and Federal Governments as a result of execution of the 1965 Deferral Agreement.

       134.    The 1965 Deferral Agreement also contained specific promises relating to the

United States’ management of the Tribe’s water rights. For example, in Paragraph 8 of the 1965

Deferral Agreement, the United States promised to move the diversion points for the Wissiup,

Leland, and Ouray School Canals upstream to the Duchesne Feeder Canal. This promise was

grounded in the United States’ acknowledgement that these canals were supplying poor-quality

and polluted water to irrigators in the UIIP.

       135.    Upon execution of the 1965 Deferral Agreement, the United States and the State of

Utah were in a position to seek Congressional funding for the Bonneville Unit by certifying to

Congress that the State of Utah had secured an uncontested right to water in the Uintah Basin.

       136.    With passage of the Colorado River Basin Project Act of 1968, Congress

recognized the 1965 Deferral Agreement as a binding agreement. The Act amended the Colorado

River Storage Project Act of 1956 (i.e., the Act which authorized the construction of the CUP) to

account for the obligations under the 1965 Deferral Agreement, stating, in relevant part:

       That the planning report for the Ute Indian unit of the Central Utah Participating
       Project shall be completed on or before December 31, 1974, to enable the United
       States of America to meet the commitments heretofore made to the Ute Indian Tribe
       of the Uintah and Ouray Indian Reservation under the Agreement dated September
       20, 1965 (Contract No. 14-06-W-194).

       137.    Further, in 1973, the Utah State Legislature passed a Concurrent Resolution in the

40th Legislature, signed by the Utah Governor, recognizing that the Central Utah Water

Conservancy District had bound the State of Utah to the conditions and promises made to the Tribe

under the 1965 Deferral Agreement, and sought Congressional funding for the Central Utah




                                                38
          Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 43 of 75



Project based on the Tribe’s agreement to defer development of a portion of its water rights,

thereby eliminating any water rights challenges that could be raised by the Tribe as the Bonneville

Unit proceeded with construction.

         138.   The United States failed to follow through on the promises to supply water and

storage to the Tribe through the systems and facilities of the CUP.

         139.   The Upalco Unit, as planned, was to provide storage on the Lake Fork River Basin

to serve water supply for both tribal and non-tribal lands. The principal feature of the Upalco Unit,

as planned, was the 78,000 AF Taskeech Reservoir to be built on tribal, Federal, and private lands.

Approximately 11% of the total water supply to be developed by Taskeech Reservoir was to supply

tribal lands in the UIIP, while 32% of the lands to be taken for reservoir construction were Tribally-

owned.

         140.   The Upalco Unit was never built. Although Congress appropriated construction

funds for the Upalco Unit in 1981, by 1986, the BOR had indefinitely postponed construction of

the Upalco Unit citing increased costs and lack of demand for municipal and industrial water. The

United States never provided a more specific economic justification for abandoning the Upalco

Unit.

         141.   The Uintah Unit was to provide the greatest of the Central Utah Project benefits to

the Tribe. Original plans called for 64% of the nearly 50,000 AFY of annual supply developed by

the unit to be provided to the Tribe. As envisioned early in the planning stages, the unit would

feature two reservoirs: the 47,000 AF Uintah Reservoir and the 32,000 AF Whiterocks Reservoir.

These reservoirs would help provide full irrigation of 7,818 acres of tribal land and supplemental

service to 34,152 acres of Tribe’s water righted land within the Uintah Indian Irrigation Project.




                                                 39
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 44 of 75



       142.    Similar to the Upalco Unit, a long period of time elapsed between the Uintah Unit’s

initial authorization and its pre-construction activities.    In the late 1970s, the BOR finally

undertook geophysical examinations of the proposed Uintah and Whiterocks dam sites, ultimately

concluding that the proposed dam sites were unfeasible.

       143.    Following the geophysical tests, the United States began to formulate the Uintah

Unit as an “all-Indian” project and to investigate alternative dam sites. The revised plan called for

elimination of the Uintah Reservoir and an expansion of the Whiterocks Reservoir to 76,000 AF.

The reformulated project would only supply full and supplemental irrigation to tribal lands.

       144.    BOR adjusted costs and benefits of the Uintah Unit to reflect the changes in the

plans for the development of the Uintah Unit. Costs were drastically increased while benefits were

dramatically reduced. In fact, the benefit-cost ratio dropped from over 1.2:1 to approximately

0.4:1. It is unclear why costs and benefits varied so significantly. However, it is clear that as an

exclusively tribal project, BOR found poor economics, but when non-Indians were included as

part of the project, the economics drastically improved.

       145.    Although BOR knew the reformulated Uintah Unit showed poor economics, it

chose to continue planning and study the unit out of its acknowledged commitment to fulfill the

Tribe’s water rights. As explained in the 1980 Status Report on the Uintah Unit:

       [T]he 1978 plan and the three alternatives are all economically infeasible.
       However, the plan to provide strictly Indian development merits further
       consideration because of special circumstances involving the Ute Indians…Among
       the major considerations supporting the development of an Indian project are (1) a
       critical need for economic development to help alleviate serious socioeconomic
       problems on the Uintah and Ouray Indian Reservation and to help preserve
       traditional values, (2) the Ute Tribe's claim of an inherent water right prior to non-
       Indian rights under…the Winters Doctrine, (3) a 1965 agreement between the
       United States Government and the Ute Indian Tribe which deferred tribal
       development of Indian water rights and thus allowed the construction of the Central
       Utah Project to proceed in return for development of Indian water by no later than




                                                 40
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 45 of 75



       the year 2005, and (4) a water compact between the State of Utah and the Ute Indian
       Tribe…

       146.    Planning for the Uintah Unit continued through the early 1980s.           However,

eventually BOR decided to postpone the Uintah Unit indefinitely.

       147.    The United States also abandoned the Ute Indian Unit, which was to provide

supplemental waters to the Bonneville, Upalco, and Uintah waters in order to provide water to the

Tribe as part of the ultimate phase of the CUP. In 1980, BOR issued a Concluding Report that

effectively abandoned study of the Ute Indian Unit. Specific justification for abandoning the

project was terse and tenuous, and included: (1) lack of social and economic data for the Ute Tribe;

(2) unknown future development of energy in the Uinta Basin; (3) wilderness and environmental

issues; (4) lack of local, State, and Federal support; and (5) lack of funding and planning for

irrigation systems. The 1980 Concluding Report provided no specific economic justification for

abandoning the Ute Indian Unit.

       148.    The United States has breached its fiduciary duty to protect and preserve the

remaining portion of the Tribe’s Reserved Water Rights by failing to seek and secure a federal

court decree that recognizes the remaining quantified Reserved Water Rights that were

acknowledged by agreement by the parties to the 1965 Deferral Agreement.

       149.    The United States’ “full and complete recognition” the Tribe’s Groups 1-7 water

rights under the 1965 Deferral Agreement, “without resort to litigation,” is a recognition that the

United States’ trust duty to manage, protect, preserve, and develop the Tribe’s water rights extends

to the full scope of the Tribe’s Groups 1-7 water rights. Since the execution of the 1965 Deferral

Agreement, if not before, the United States has had a fiduciary obligation to develop the Tribe’s

non-decreed reserved water rights and to facilitate the Tribe’s and tribal members’ access to water




                                                41
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 46 of 75



and to derive economic benefit from the Tribe’s Reserved Water Rights. The United States has

taken no steps toward fulfilling these trust obligations.

       iii.    The Central Utah Project Completion Act of 1992 and the Promise of Uinta
               Basin Replacement Facilities

               a. Unjust Compensation for Waiver of Claims

       150.    In the face of the United States’ continued breach of its fiduciary duty to preserve,

protect, and secure water resources for the Tribe, the Tribe was unsuccessful in negotiating a

comprehensive water rights settlement between the Tribe, the United States, and the State of Utah

that would enable the Tribe to develop its water resources.

       151.    In 1992, Congress passed the Central Utah Project Completion Act (P.L. 102-575)

(“CUPCA”), and approved a proposed “1990 Revised Ute Water Compact” (“1990 Revised

Compact”). One of the key revisions of the proposed 1990 Revised Compact was a provision

stating that “the Tribe shall take from the Green River in lieu of other sources the 57,948 acre-foot

depletion of water allocable to the Tribe’s group 5 lands.” This transfer of Group 5 water rights

to the Green River was another measure designed to ensure sufficient water supply to support the

CUP for the benefit of non-Indians.

       152.    Under the 1990 Revised Compact, Congress acknowledged that natural flow is

insufficient to meet the irrigation needs of the Tribe’s Group 1 Lands, and Congress therefore

provided the Tribe with an additional 0.4 acre-feet/per-acre/per-year of stored water to supplement

the Tribe’s decreed water rights for its Group 1 lands.

       153.    The enforceability of the proposed 1990 Compact was made subject to ratification

by both the State of Utah and the Ute Tribe. The proposed 1990 Compact failed to adequately

protect and preserve the Tribe’s water rights and the Tribe’s administrative authority over its

waters. And for that reason, the Tribe’s membership never ratified the 1990 proposed Compact.


                                                 42
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 47 of 75



In Title V of the CUPCA, Congress acknowledged the United States’ failure to fulfill its

obligations to the Tribe under the 1965 Deferral Agreement. Congress found that there were

“unresolved tribal claims arising out of an agreement dated September 20, 1965, where the Tribe

deferred development of a portion of its reserved water rights for 15,242 acres of the Tribe's Group

5 Lands in order to facilitate the construction of the Bonneville Unit of the Central Utah Project.”

The stated purpose of Title V of the CUPCA was to “(1) quantify the Tribe’s reserved water rights;

(2) allow increased beneficial use of such water; and (3) put the Tribe in the same economic

position it would have enjoyed had the features contemplated by the September 20, 1965

Agreement been constructed.”

        154.    In Title V, Congress established a mechanism for compensating the Tribe, in part,

for the Federal Government’s failure to construct the promised storage facilities that were intended

to store Indian water and to develop the Tribe’s waters that were scheduled for development

through CUP facilities. Section 502(a) of the CUPCA, titled “Bonneville Unit Tribal Credits,”

stated that

        the Tribe shall receive from the United States 26 percent of the annual Bonneville
        Unit municipal and industrial capital repayment obligation attributable to thirty-
        five thousand five hundred acre-feet of water, which represents a portion of the
        Tribe's water rights that were to be supplied by storage from the Central Utah
        Project, but will not be supplied because the Upalco and Uintah units are not to be
        constructed.

        155.    The primary objective of the Upalco and Uinta Units for the Tribe was to provide

supplemental and full service irrigation water in the Lake Fork and Uinta River Basins,

respectively.   The amount of compensation provided to the Tribe under this framework is

approximately $2 million per year.

        156.    The compensation provided to the Tribe pursuant to Section 502(a) was

miscalculated and failed to “put the Tribe in the same economic position it would have enjoyed



                                                43
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 48 of 75



had the features contemplated by the September 20, 1965, Agreement been constructed.”             In

calculating the Tribe’s compensation for the United States’ failure to provide the promised tribal

storage, Congress based the calculation on only 35,500 acre-feet of planned tribal storage in the

Uintah and Upalco Units. The United States did not include and account for 8,380 acres of Group

5 lands that were also promised to receive full service irrigation from the Lake Fork River using

storage from the Upalco Unit. Because the United States failed to account for the storage that

would provide for full service irrigation to these 8,380 acres of irrigable tribal lands, the

compensation provided to the Tribe was miscalculated, and should have been calculated based on

a total value of over 63,000 acre-feet of stored water that would have been made available from

storage in the Uintah and Upalco Units for the Tribe.

        157. Congress also intended for Title V of the CUPCA to compensate the Tribe for other

economic damages it had suffered as a result of the United States’ failure to fulfill its promises to

the Tribe under the 1965 Deferral Agreement. Sections 504, 505, and 506 of the CUPCA

mandated that federal funds be paid to compensate the Tribe, as well as other promises.

        158. Section 504 required the United States to pay $45 million for the development of a

tribal farm and for improvements to existing UIIP facilities.

        159. Section 505 required the United States to pay $28.5 million for various

improvements to reservoirs, stream habitat, and municipal water facilities for the Tribe. Of this

$28.5 million sum, $500,000 was directed to be used toward cleanup of the contaminated Bottle

Hollow Reservoir, an off-stream reservoir located within the tribal reservation and built as part of

the CUP. Title V, Section 505, obligated the United States to “secure minimum flow of water to

the [Bottle Hollow] reservoir to make it a suitable habitat for a cold water fishery.” The United

States has never secured such a minimum flow of water to Bottle Hollow, but has left the reservoir




                                                 44
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 49 of 75



to be supplied by return flow from Tribal Group 1 irrigation water rights, ruining the reservoir as

a cold water fishery. Under these conditions, the Bottle Hollow reservoir cannot function as a

cold water fishery for the Tribe and its members. Bottle Hollow reservoir was intended to be one

source of mitigation by BOR for the environmental losses the Tribe incurred from the construction

of the CUP. The United States has violated the Congressional mandate of Title V, Section 505.

Although funds were appropriated for the United States to clean the contaminated Bottle Hollow

Reservoir and to secure minimum flow thereto, the United States has never secured a tribal right

to the water stored in the Bottle Hollow Reservoir. Absent an additional, recognized the Tribe’s

water right for stored water in the Bottle Hollow Reservoir, “compensation” in the form of

revitalizing the Bottle Hollow Reservoir is incomplete, and the United States has violated its

obligations to the Tribe under Title V.

       160.    Section 506 required the United States to pay $125 million to support a tribal

economic development fund. The purpose of the funds mandated under Sections 504, 505, and

506 was to compensate the Tribe for the economic losses the Tribe had suffered as a result of

deferring the development of its Group 5 lands, as well as the United States’ failure to “mitigate

for losses to fish, wildlife, and recreation upon the lands of the Tribe…caused by the construction

and/or operation of the Central Utah Project,” as was promised in the 1965 Deferral Agreement.

       161.    Section 507 of Title V of CUPCA provided that, upon receipt of the funds outlined

in Section 504, 505, and 506, the Tribe would be required to waive it claims arising from the

United States’ failure to construct the Uintah, Upalco, and Ute Indian Units as contemplated in the

1965 Deferral Agreement. Section 507 further provided that “[n]othing in this waiver of claims

shall prevent the Tribe from enforcing rights granted to it under this Act or under the [1990]

Compact.”




                                                45
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 50 of 75



       162.    As with the Bonneville Unit Tribal Credits in Section 502(a), the United States

failed to account for all facts necessary to constitute just compensation for the Tribe in Section

504, 505, and 506. Paragraph 5 of the 1965 Deferral Agreement, quoted above, made clear that if

the ultimate phase projects were not constructed, including the Ute Indian Unit, then an equitable

adjustment would be made sufficient to allow the Tribe to use its Reserved Water Rights to develop

its practicably irrigable acreage. No equitable adjustment has been made. The United States was

obligated, as an equitable adjustment, to pursue substitute projects for the Tribe to be able to use

the full scope of its Reserved Water Rights. The Settlement provided monetary benefits to the

Tribe that were less than the amount of money needed to provide for such projects, or to provide

substitute benefits to the Tribe.

       163.    Further, the compensation that was provided to the Tribe in exchange for its

“waiver” of claims under Section 507 was based on the assumption that the 1990 Revised Compact

would be ratified by the Tribe and the State of Utah. However, neither the Tribe nor the State of

Utah has ratified the 1990 Revised Compact.

                            b.      Uintah Basin Replacement Projects

       164.    The CUPCA altered the course of development of the CUP facilities that were

planned to benefit the Ute Tribe. The Ute Indian Unit, promised to the Tribe and understood by

the Tribe as the most beneficial storage unit to be included in the CUP facilities for the Tribe, and

one of the reasons the Tribe agreed to the 1965 Deferral Agreement, was never built to provide

supplemental waters to the Bonneville, Upalco, and Uintah Units for the benefit of the Tribe.

Instead, in CUPCA, Congress promised the development of “replacement projects” intended to

satisfy the promise to provide some storage to the Tribe for its water rights.

       165.    In Title II of the CUPCA, Congress addressed the water storage needs in the Uinta

Basin, including the Tribe’s water storage needs, by authorizing the development of a series of


                                                 46
        Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 51 of 75



canals and storage facilities to “increase efficiency, enhance beneficial uses, and achieve greater

water conservation within the Uinta Basin.” This was referred to in the CUPCA as the Uinta Basin

Replacement Project.

       166.    Continued funding for the Uinta Basin Replacement Project was subject to the

condition set forth in Section 201(c) of the CUPCA, which stated that funding for the Uinta Basin

Replacement Project, as well any other component of the CUP, would terminate five years after

the enactment of the CUPCA unless “(1) the Secretary executes a cost-sharing agreement with the

District for construction of such project, and (2) the Secretary has requested, or the Congress has

appropriated, construction funds for such project.”

       167.    On information and belief, on August 11, 1993, in order to satisfy the conditions to

funding set forth in Section 201(c) of the CUPCA, the Department of Interior entered into an

Agreement with the Central Utah Water Conservancy District “For the Sharing of Costs Pursuant

to Section 204 of the Central Utah Project Completion Act” (“1993 Cost-Sharing Agreement”).

The Explanatory Recitals of the 1993 Cost-Sharing Agreement stated:

       Whereas, the Act amends the Act of April 11, 1956 (Pub. L. 84-485, 70 Stat. 105)
       to authorize additional appropriations for the completion of certain features of the
       Central Utah Project; and

       Whereas, Congress anticipates that the District will explore less costly replacement
       features for the Uintah and Upalco Units of the Central Utah Project which will
       prove more feasible and environmentally less damaging than features originally
       planned by the Bureau of Reclamation; and,

       Whereas, the Secretary is required to ensure that replacement features planned,
       designed and constructed for the Uintah and Upalco Units of the Central Utah
       Project are consistent with the Secretary’s trust responsibilities to the Ute Indian
       Tribe; and

       Whereas under the Act, the Secretary is directed to retain responsibility for
       implementing the Act, and is authorized, under certain conditions, to contract with
       the District to plan, design, and construct certain features authorized in the Act.




                                                47
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 52 of 75



(emphasis added).

       168.    “Replacement features” were defined in the Agreement to “mean Project features

planned, designed, or constructed for the Uintah and Upalco Units of the Central Utah Project that

were not originally planned, designed, or constructed by the Bureau of Reclamation and that are

not identified in Section 203 of the Act.”

       169.    Through both the CUPCA and the 1993 Cost-Sharing Agreement, the United States

acknowledged the United States’ continuing trust obligation to supply waters necessary to fulfill

the Tribe’s water rights through the CUP. Yet, once again, the United States failed to meet its

fiduciary duty to procure, preserve and protect the Tribe’s right to use and develop its water rights.

       170.    The replacement projects, as formulated by the United States and the Central Utah

Water Conservancy District throughout the 1990s, were designed to disproportionately allocate

the benefits of the Central Utah Project to non-Indians and the burdens to the Tribe and its

members. By way of example, the United States and the Central Utah Water Conservancy District

planned for a reservoir that would be situated entirely on tribal lands, but with roughly half the

stored water stored for non-Indians.

       171.    Ultimately, the Uintah Basin Replacement Projects entailed both (i) stunningly

disproportionate losses to the Ute Tribe, and (ii) stunningly dismal benefits to the Tribe. Not only

has the United States abandoned the Ute Tribe, it has also abandoned the Federal Government’s

effort to secure storage and related water works for the Tribe to use in developing and irrigating

its irrigable lands with the reserved water rights recognized by the United States in the 1965

Deferral Agreement. Today, as the CUP nears completion, a sad and tragic irony has unfolded

that should escape no one’s attention: the Ute Indian Tribe, whose permanent home is in the Uinta

Basin, has no storage facility and related water works from which to supply its reserved water




                                                 48
           Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 53 of 75



rights to its irrigable trust lands. At the same time, the construction of water storage facilities that

will benefit non-Indian water users in the Uinta Basin is nearing completion.

                                VI. STATEMENT OF CLAIMS

                                 FIRST CLAIM FOR RELIEF
              (Breach of Statutory and Common Law Trust and Fiduciary Duties:
           Mismanagement of Tribal Statutory and Reserved Water Rights to Irrigate
                Uintah Indian Irrigation Project Lands and for Other Purposes)

       172.     The Ute Indian Tribe incorporates by reference and repeats the allegations of

Paragraphs 1 - 171 of this Complaint.

       173.     The Act of 1899 imposes statutory and fiduciary duties upon the United States to

(i) preserve and protect the Ute Tribe’s “paramount rights” to the waters flowing through the

Tribe’s Reservation; (ii) “to secure” to the Ute Indians “the quantity of water needed for their

present and prospective” needs; and (iii) to “otherwise protect the rights and interests of” the Ute

Indians.

       174.     Further, the Winters Doctrine recognizes as tribal trust property the waters flowing

through, under, and on the Reservation, and under the Winters Doctrine and the additional statutes,

regulations, common law, and other federal regulations and requirements referred to herein,

including those particular to the Ute Tribe, there exists a trust corpus of Reserved Water Rights

that is more than a “bare trust;” further, there is imposed on the United States specific common

law and statutory duties of a trustee to act reasonably to preserve and protect the tribal trust

property, and finally, the Ute Indians’ beneficial interest in the trust corpus is a substantive

property and trust interest that is subject to enforcement through claims for monetary damages.

       175.     Pursuant to the rights and duties established in the statutes, regulations, agreements,

and other sources of law identified herein, and pursuant to the United States’ pervasive and

comprehensive control over the UIIP and the Tribe’s water rights and resources, the United States,



                                                  49
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 54 of 75



at all times relevant, has had statutory and fiduciary duties to ensure that all lands within the UIIP

receive irrigation water.

       176.    Only a portion of the Reservation trust lands have been or continue to be irrigated,

reducing crop yields for the Tribe and its members, and significantly impacting the economy of

the Reservation.

       177.    The Tribe has relied on the UIIP as the exclusive means of delivering irrigation

water to develop and sustain agriculture on the approximately 88,000 acres of Reservation land

the UIIP was designed to serve.

       178.    In failing to sustain a UIIP capable of irrigating the full amount of Reservation lands

the UIIP was designed to serve, the United States has violated its statutory and trust responsibilities

toward the Tribe as it relates to the UIIP in particular and the Tribe’s water rights and water

resources in general.

       179.    The United States’ breaches have resulted in substantial, multi-million dollar losses

to the Tribe. The United States is liable in damages for such losses. Damages are due from the

inception of the United States’ breaches through to the present.

       180.    The United States’ breaches are continuing in nature and remain ongoing as of the

filing date of this Complaint.

       181.    All conditions precedent to the initiation and maintenance of this action have been

satisfied or otherwise have occurred.

                             SECOND CLAIM FOR RELIEF
 (Breach of Statutory and Common Law Trust and Fiduciary Duties: Failure to Construct
            Storage for the Tribe’s Federally-Decreed Reserved Water Rights)

       182.    The Ute Indian Tribe realleges Paragraphs 1-181 and incorporates them by

reference.




                                                  50
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 55 of 75



        183.   The United States has had, and continues to have, pervasive and comprehensive

control through its administration, operation, and regulation of the UIIP since the UIIP’s

Congressional authorization in 1906; yet in more than a century since the UIIP’s Congressional

authorization, the United States has failed to construct storage facilities to preserve and protect the

Tribe’s Reserved Water Rights under the UIIP. Instead, the United States has willfully and

knowingly allowed the Tribe’s Reserved Water Rights to flow through the Reservation unused by

the Tribe and its members, with the result that these tribal waters are instead being used by non-

Indians, to the detriment and economic loss of the Tribe and its members.

        184.   The United States has known and continues to know that without the storage of the

Tribe’s water under the UIIP, the Tribe and its members cannot successfully develop the

agricultural trust lands of the Reservation as a permanent homeland for the Ute Indians.

        185.   Without storage for its federally-decreed Reserved Water Rights, the Tribe lacks a

fully functional irrigation project capable of delivering water to UIIP lands, including trust lands,

throughout the crop growing season when the rivers’ natural flow is insufficient to deliver the

water necessary to engage in economically beneficial agricultural activities.

        186.   Without providing for storage of the Tribe’s federally-decreed Reserved Water

Rights, the United States has engaged in and continues to engage in administrative malfeasance

and mismanagement and regulation of the Tribe’s Reserved Water Rights, a trust asset, resulting

in significant loss and waste of a critical tribal trust asset, all of which frustrates the necessary,

expected, and customary development and use of the Tribe’s Reserved Water Rights under the

UIIP.

        187.   Pursuant to the rights and duties established in the statutes, regulations, agreements,

common law, and other sources of law identified herein, and pursuant to the United States’




                                                  51
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 56 of 75



pervasive control over the UIIP and the Tribe’s Reserved Water Rights and resources, the United

States, at all times relevant, has breached its statutory and fiduciary duties to provide for the

development of an Indian irrigation project that includes storage for the Tribe’s trust waters.

       188.    By its actions and inactions, and in spite of its pervasive and comprehensive control

over the management of the Tribe’s Reserved Water Rights under the UIIP, the United States has

egregiously failed to fulfill its fiduciary duties under statutory and common laws, and other sources

of law identified herein, to preserve and protect the waters of the streams of the Reservation for

the benefit of the Ute Tribe and its members, thereby wasting a precious tribal trust asset that is

absolutely essential to the successful establishment of a homeland for the Ute Indians through

agricultural pursuits and for other needs.

       189.    The United States’ breaches have resulted in substantial, multi-million dollar losses

to the Tribe. The United States is liable in damages for such losses. Damages are due from the

inception of the United States’ breaches through the present.

       190.    The United States’ breaches are continuing in nature and remain ongoing as of the

filing date of this Complaint.

       191.    All conditions precedent to the initiation and maintenance of this action have been

satisfied or otherwise have occurred.

                             THIRD CLAIM FOR RELIEF
  (Breach of Statutory and Common Law Trust and Fiduciary Duties: Failure to Protect,
               Maintain, Repair, Rehabilitate, Construct, and Preserve the
                            Uintah Indian Irrigation Project)

       192.    The Ute Indian Tribe realleges Paragraphs 1-191 and incorporates them by

reference.

       193.    The Uintah Indian Irrigation Project is a tribal trust asset that is held for the use and

benefit of the Tribe and its allottees and their successors, to be constructed and operated to satisfy,



                                                  52
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 57 of 75



in part, the statutory and common law duties of the Secretary to preserve and protect the paramount

rights of the Tribe and its members and to fulfill their current and future agricultural and domestic

needs. In numerous cases the Project works have been destroyed and are unable to deliver water

to the farm headgate for lands designated to receive water under the UIIP. The United States has

failed to adequately maintain the UIIP, resulting in the UIIP falling into a grievous state of disrepair

to the detriment of the Tribe and its members.

        194.    As a result of this grievous state of disrepair, the UIIP is incapable of supplying the

full amount of water that should be available to lands within the UIIP. The poor conditions of the

UIIP have also led to UIIP lands being designated temporarily non-assessable or permanently non-

assessable, further reducing the amount of irrigable acreage that is assessed annual operation and

maintenance fees, and thereby, in turn, further reducing the amount of funds that are collected each

year for operating and maintaining the irrigation works of the UIIP.

        195.    Pursuant to the rights and duties established in the statutes, regulations, agreements,

and other sources of law identified herein, and pursuant to the United States’ pervasive and

comprehensive control over the UIIP and the Tribe’s water rights and resources, the United States

has, at all times relevant, had a fiduciary obligation to maintain the UIIP to enable the efficient

delivery of available Tribal water to irrigable lands and to the prevent waste of the Tribe’s water.

        196.    The United States’ continuous failure to adequately maintain the UIIP is a violation

of the United States’ trust responsibility toward the Tribe as it relates to the UIIP specifically, and

the Tribe’s water rights and water resources in general.

        197.    Further, the United States’ expenditure of operation and maintenance fees to the

disproportionate benefit of non-Indian landowners within the UIIP constitutes a violation of the




                                                  53
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 58 of 75



United States’ trust responsibility toward the Tribe since it is the Tribe that, pursuant to the Act of

1899, is supposed to have the “paramount rights” to the waters that flow through the Reservation.

       198.     The United States’ breaches have resulted in substantial, multi-million dollar losses

to the Tribe. The United States is liable in damages for such losses. Damages are due from the

inception of the United States’ breaches through the present.

       199.     The United States’ breaches are continuing in nature and remain ongoing as of the

filing date of this Complaint.

       200.     All conditions precedent to the initiation and maintenance of this action have been

satisfied or otherwise have occurred.

                               FOURTH CLAIM FOR RELIEF
              (Breach of Statutory and Common Law Trust and Fiduciary Duties:
                              Non-Assessable Lands in the UIIP)

       201.     The Ute Indian Tribe realleges Paragraphs 1-200 and incorporates them by

reference.

       202.     Since the construction of the UIIP, the United States has designated a substantial

portion of the acreage that the UIIP was designed to irrigate as either temporarily non-assessable

or permanently non-assessable. Lands so designated are either temporarily or permanently unable

to be irrigated through the UIIP.

       203.     A a substantial portion of these land designations were not justified, either because

(i) the basis for the designation was a condition that could easily have been repaired, or (ii) the

reason why lands were rendered non-assessable is directly attributable to the BIA’s inexcusable

failure to adequately maintain the UIIP.

       204.     Pursuant to the rights and duties established in the statutes, regulations, agreements,

and other sources of law identified herein, and pursuant to the United States’ pervasive and




                                                  54
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 59 of 75



comprehensive control over the UIIP and the Tribe’s water rights and resources, the United States,

at all times relevant, has had a fiduciary obligation to maintain the UIIP to enable the efficient

delivery of available Tribal water to irrigable lands and to prevent the waste of tribal water.

       205.    The United States’ failure to properly manage the UIIP and UIIP Lands, so as to

prevent UIIP Lands from becoming temporarily or permanently non-assessable, is a breach of the

United States’ trust responsibility toward the Tribe as it relates to the management of the UIIP

specifically, and the Tribe’s water rights and water resources in general.

       206.    The non-assessability of UIIP Lands has reduced the number of irrigated acres

under the UIIP, resulting in economic losses to the Tribe and its members.

       207.    The United States’ breaches have resulted in substantial, multi-million dollar losses

to the Tribe. The United States is liable in damages for such losses. Damages are due from the

inception of the United States’ breaches through the present.

       208.    The United States’ breaches are continuing in nature and remain ongoing as of the

filing date of this Complaint.

       209.    All conditions precedent to the initiation and maintenance of this action have been

satisfied or otherwise have occurred.

                              FIFTH CLAIM FOR RELIEF
 (Breach of Statutory and Common Law Trust and Fiduciary Duties – Unlawful Transfers
                        of Tribal Water Rights under the 1941 Act)

       210.    The Ute Indian Tribe realleges Paragraphs 1-209 and incorporates them by

reference.

       211.    Pursuant to the rights and duties established in the statutes, regulations, agreements,

and other sources of law identified herein, and pursuant to the United States’ pervasive control

over the UIIP and the Tribe’s water rights and resources, the United States, at all times relevant,




                                                 55
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 60 of 75



has had a money-mandating fiduciary obligation to exercise its administrative authority with

undivided loyalty to the Tribe and its members, and in a manner that prevents loss of the Tribe’s

Reserved Water Rights.

       212.    The 1941 Act authorized the Secretary of the Interior to transfer UIIP water rights

to other Indian-owned lands within the UIIP in order to maximize the economic efficiency of the

UIIP. Since enactment of the 1941 Act, the Tribe and its members have had to rely on the Secretary

to exercise his authority under the Act in a manner that is consistent with the United States’ trust

obligations.

       213.    Under color of the 1941 Act, the Secretary has transferred a substantial quantity of

the Tribe’s Reserved Water Rights to lands outside of the UIIP; indeed, the Secretary has even

transferred the Tribe’s Reserved Water Rights to lands that were homesteaded by non-Indians and

are no longer part of the Tribe’s Reservation.

       214.    Further, the Secretary continues to recognize such unlawful transfers that took place

under the color of the 1941 Act.

       215.    The Secretary’s unlawful transfers under the color of the 1941 Act and continued

recognition of these transfers constitute breaches of the United States’ trust responsibility toward

the Tribe and its members.

       216.    The United States’ breaches have resulted in substantial, multi-million dollar losses

to the Tribe. The United States is liable in damages for such losses. Damages are due from the

inception of the United States’ breaches through the present.

       217.    The United States’ breaches are continuing in nature and remain ongoing as of the

filing date of this Complaint.




                                                 56
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 61 of 75



       218.     All conditions precedent to the initiation and maintenance of this action have been

satisfied or otherwise have occurred.

                                SIXTH CLAIM FOR RELIEF
              (Breach of Statutory and Common Law Trust and Fiduciary Duties:
                                      Midview Exchange)

       219.     The Ute Indian Tribe realleges Paragraphs 1-218 and incorporates them by

reference.

       220.     Pursuant to the rights and duties established in the statutes, regulations, agreements,

and other sources of law identified herein, and pursuant to the United States’ pervasive and

comprehensive control over the UIIP and the Tribe’s water rights and resources, the United States,

at all times relevant, has had a fiduciary obligation to manage the Tribe’s water rights in such a

manner as to prevent or minimize losses to the Tribe’s water rights and resources and to exercise

care, prudence, and loyalty in the administration of these tribal trust assets.

       221.     As part of the Midview Exchange, the Tribe was promised beneficial ownership of

the right, title, and interest in the Midview Dam and Reservoir, Duchesne Diversion Dam,

Duchesne Feeder Canal, and Midview Lateral together with all facilities and property appurtenant

thereto. This transfer never happened.

       222.     As a result of the Midview Exchange—an Exchange that contributes to the United

States’ pervasive, comprehensive, and exclusive control over the UIIP and the Tribe’s water rights

and resources—the Tribe has relied upon the United States to effectuate a transfer of the Midview

Property.

       223.     The United States’ failure to transfer the Midview Property has diminished the

water-storage capacity that was anticipated and relied upon by the Tribe. It has also reduced the




                                                  57
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 62 of 75



amount of water available to the Tribe to use for irrigation, marketing, and other economically

productive purposes.

       224.    The United States has also failed to property recognize the Tribe’s beneficial

ownership of the Midview Property as demonstrated, inter alia, by its granting rights-of-way to

Duchesne County for the Victory Pipeline notwithstanding adverse impacts on the Tribe’s property

interests established under the Midview Exchange and without obtaining either tribal consent or

fair compensation for the rights-of-way.

       225.    The United States’ failure to effectuate a legal transfer of the Midview Property and

failure to recognize the Tribe’s beneficial ownership of the Midview Property constitute breaches

of the United States’ trust responsibility toward the Tribe as it relates to the UIIP specifically and

the Tribe’s water rights and water resources in general.

       226.    The United States’ breaches have resulted in substantial, multi-million dollar losses

to the Tribe. The United States is liable in damages for such losses. Damages are due from the

inception of the United States’ breaches through the present.

       227.    The United States’ breaches are continuing in nature and remain ongoing as of the

filing date of this Complaint.

       228.    All conditions precedent to the initiation and maintenance of this action have been

satisfied or have otherwise occurred.

                            SEVENTH CLAIM FOR RELIEF
(Breach of Statutory and Common Law Trust and Fiduciary Duties: Midview Exchange –
           Failure to Discontinue Inequitable Water Management Framework)

       229.    The Ute Indian Tribe realleges Paragraphs 1-228 and incorporates them by

reference.




                                                 58
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 63 of 75



       230.    Pursuant to the rights and duties established in the statutes, regulations, agreements,

and other sources of law identified herein, and pursuant to the United States’ pervasive and

comprehensive control over the UIIP and the Tribe’s water rights and resources, the United States,

at all times relevant, has had a fiduciary obligation to manage the Tribe’s water rights in such

manner as to prevent or minimize losses to the Tribe’s water rights and resources and to exercise

care, prudence, and loyalty in the administration of these tribal trust assets.

       231.    The Midview Exchange provided for an encumbrance on the Tribe’s federally-

decreed water rights for an indefinite period of time. Because congressional authorization was

never provided for the Midview Exchange, the Midview Exchange has always been, and remains

today, an illegal conveyance of tribal trust assets under 25 U.S.C. 177.

       232.    Pursuant to Section 177, the Midview Exchange can, at most, function as a non-

binding arrangement for managing the Tribe’s water and the UIIP.

       233.    Upon the Midview Exchange becoming inequitable to the Tribe, the United States

was obligated to rectify this inequity, whether by formally nullifying the Midview Exchange or by

negotiating a new water transfer scheme that is equitable and beneficial to the Tribe.

       234.    The United States’ failure to rectify the inequities of the Midview Exchange

constitutes a violation of the United States’ trust responsibility has toward the Tribe and its

members.

       235.    The United States’ breaches have resulted in substantial, multi-million dollar losses

to the Tribe. The United States is liable in damages for such losses. Damages are due from the

inception of the United States’ breaches through the present.

       236.    The United States’ breaches are continuing in nature and remain ongoing as of the

filing date of this Complaint.




                                                  59
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 64 of 75



       237.     All conditions precedent to the initiation and maintenance of this action have been

satisfied or otherwise occurred.

                                EIGHTH CLAIM FOR RELIEF
              (Breach of Statutory and Common Law Trust and Fiduciary Duties:
                            Failure to Develop Tribal Water Rights)

       238.     The Ute Indian Tribe realleges Paragraphs 1-237 and incorporates them by

reference.

       239.     Pursuant to the 1965 Deferral Agreement, the United States agreed to the “full and

complete recognition” of the Tribe’s water rights as identified in Groups 1-7 of the Decker Report

“without resort to litigation.” This provision gave further definition to the United States’ fiduciary

duties as they relate to the Tribe’s “paramount” rights to water resources throughout the

Reservation. Specifically, by agreeing to the “full and complete recognition” of the Tribe’s non-

decreed water rights detailed in the Decker Report “without resort to litigation,” the United States

acknowledged that it has a fiduciary duty to ensure and secure the legal recognition for the

development and use of all the Reserved Water Rights for Groups 1-7 in order to ensure that the

present and future needs of the Tribe are met.

       240.     The United States has failed to develop the Tribe’s water rights outside of the UIIP

as identified in the Decker Report, an omission that is inconsistent with the United States’

commitment to the “full and complete” recognition of said water rights.

       241.     The United States’ breaches have resulted in substantial, multi-million dollar losses

to the Tribe. The United States is liable in damages for such losses. Damages are due from the

inception of the United States’ breaches through the present.

       242.     The United States’ breaches are continuing in nature and remain ongoing as of the

filing date of this Complaint.




                                                 60
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 65 of 75



       243.    All conditions precedent to the initiation and maintenance of this action have been

satisfied or otherwise occurred.

                              NINTH CLAIM FOR RELIEF
            (Breach of Statutory and Common Law Trust and Fiduciary Duties:
     Failure to Enforce and Protect the Tribe’s Right to Just Compensation in the 1992
                                         CUPCA)

       244.    The Ute Indian Tribe realleges Paragraphs 1-243 and incorporates them by

reference.

       245.    Pursuant to the rights and duties established in the statutes, regulations, agreements,

and other sources of law identified herein, and pursuant to the United States’ pervasive and

comprehensive control over the UIIP and the Tribe’s water rights and resources, the United States,

at all times relevant, has had a fiduciary obligation to manage and administer the Tribe’s water

rights and water resources with prudence and undivided loyalty.

       246.    The compensation scheme for the Tribe that was ultimately enacted under Title V

of the CUPCA was the culmination of a series of long and involved communications and

negotiations among interested parties.

       247.    Throughout the course of these communications and negotiations leading to the

enactment of the CUPCA, the United States had a fiduciary obligation to represent the interests of

the Tribe in bringing to Congress a proposed compensation package that would justly compensate

the Tribe for the United States’ failure to construct the promised water storage units in the 1965

Deferral Agreement.

       248.    The United States failed to satisfy this trust obligation, resulting in a Congressional

compensation scheme that failed to account for the entire harm the Tribe had incurred as a result

of the United States’ failure to construct the agreed-upon water storage units.




                                                 61
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 66 of 75



       249.    The United States’ breaches have resulted in substantial, multi-million dollar losses

to the Tribe. The United States is liable in damages for such losses. Damages are due from the

inception of the United States’ breaches through the present.

       250.    The United States’ breaches are continuing in nature and remain ongoing as of the

filing date of this Complaint.

       251.    All conditions precedent to the initiation and maintenance of this action have been

satisfied or otherwise have occurred.

                              TENTH CLAIM FOR RELIEF
            (Breach of Statutory and Common Law Trust and Fiduciary Duties:
Failure to Provide Tribal Water Storage as Part of the Uintah Basin Replacement Projects)

       252.    The Ute Indian Tribe realleges Paragraphs 1-251 and incorporates them by

reference.

       253.    The legislative intent behind the 1992 CUPCA was to “put the Tribe in the same

economic position it would have enjoyed had the features contemplated by the September 20, 1965

[Deferral] Agreement been constructed.” CUPCA mandated the development of “replacement”

systems and facilities to provide necessary tribal storage and supplemental water necessary to meet

the Tribe’s present and future needs given the United States’ failure to satisfy its promises under

the 1965 Deferral Agreement.

       254.    Through both the CUPCA and the 1993 Cost-Sharing Agreement, the United States

acknowledged its continued trust obligation to supply waters necessary to fulfill the Tribe’s water

rights through the CUP. Yet, the replacement projects initiated by the 1992 CUPCA were designed

and constructed to meet the water needs of non-Indian water users at the expense of the Tribe and

its members.




                                                62
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 67 of 75



       255.    Pursuant to the rights and duties established in the statutes, regulations, agreements,

and other sources of law identified herein, and pursuant to the United States’ pervasive control

over the UIIP and the Tribe’s water rights and resources, the United States, at all times relevant,

has had a money-mandating fiduciary obligation to provide for the construction of systems and

facilities tailored toward satisfying the water and storage needs of the Tribe and its members.

       256.    The United States has breached its fiduciary duties owed to the Tribe and its

members by overseeing the development of replacement systems and facilities that were intended

to benefit non-Indian water users at the expense of the Tribe and its members, and by failing to

ensure that these replacement systems and facilities would provide adequate storage and

supplemental water to the Tribe.

       257.    The United States’ breaches have resulted in substantial, multi-million dollar losses

to the Tribe. The United States is liable in damages for such losses. Damages are due from the

inception of the United States’ breaches through the present.

       258.    The United States’ breaches are continuing in nature and remain ongoing as of the

filing date of this Complaint.

       259.    All conditions precedent to the initiation and maintenance of this action have been

satisfied or otherwise occurred.

                           ELEVENTH CLAIM FOR RELIEF
              (Breach of Trust and Fiduciary Duties: Bottle Hollow Reservoir)

       260.    The Ute Indian Tribe realleges Paragraphs 1-259 and incorporates them by

reference.

       261.    Pursuant to the rights and duties established in the statutes, regulations, agreements,

and other sources of law identified herein, and pursuant to the United States’ pervasive and

comprehensive control over the UIIP and the Tribe’s water rights and resources, the United States,


                                                 63
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 68 of 75



at all times relevant, has had a money-mandating fiduciary obligation to secure for the benefit of

the Tribe a permanent water right to waters stored in the Bottle Hollow Reservoir, and a natural

flow right sufficient to enable streamflow storage to maintain a cold water fishery in the Bottle

Hollow Reservoir.

       262.    The United States has not secured a tribal water right to storage in Bottle Hollow

Reservoir, nor has the United States secured a tribal water right to natural flow through the Bottle

Hollow Reservoir.

       263.    By operating the Bottle Hollow as standing storage instead of streamflow storage,

the United States has damaged the Tribe’s recreation, wildlife, and fishing needs and has failed to

properly mitigate adverse economic impacts the CUP has had on the Tribe.

       264.    By failing to secure for the benefit of the Tribe a permanent water right to Bottle

Hollow with the qualifications described above, the United States has breached its fiduciary duties

to the Tribe and its members.

       265.    The United States’ breaches have resulted in substantial, multi-million dollar losses

to the Tribe. The United States is liable in damages for such losses. Damages are due from the

inception of the United States’ breaches through the present.

       266.    The United States’ breaches are continuing in nature and remain ongoing as of the

filing date of this Complaint.

       267.    All conditions precedent to the initiation and maintenance of this action have been

satisfied or otherwise occurred.




                                                64
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 69 of 75



                          TWELFTH CLAIM FOR RELIEF
 (Breach of Trust and Fiduciary Duties: Systematic Management and Administration of
 Tribal Water Rights and Water Resources in Violation of Defendant’s Fiduciary Duty of
                                 Undivided Loyalty)

        268.    The Ute Indian Tribe realleges Paragraphs 1-267 and incorporates them by

reference.

        269.    Pursuant to the rights and duties established in the statutes, regulations, agreements,

and other sources of law identified herein, and pursuant to the United States’ pervasive and

comprehensive control over the UIIP and the Tribe’s water rights and resources, the United States,

at all times relevant, has had a money-mandating fiduciary obligation to administer the UIIP and

tribal water rights with undivided loyalty to the Tribe and its members.

        270.    The United States has engaged in a continuous and systematic practice of managing

tribal water rights and the UIIP in a discriminatory manner that has benefited non-Indian water

users at the expense of the Tribe and its members.

        271.    The United States’ discriminatory management of tribal water rights and the UIIP

is in direct violation of the United States’ (i) duty of undivided loyalty to the Tribe and its members,

and (ii) its statutory duty under the 1899 Act to preserve and protect the Ute Tribe’s “paramount

rights” to waters flowing through the Tribe’s reservation.

        272.    The United States’ breaches have resulted in substantial, multi-million dollar losses

to the Tribe. The United States is liable in damages for such losses. Damages are due from the

inception of the United States’ breaches through the present.

        273.    The United States’ breaches are continuing in nature and remain ongoing as of the

filing date of this Complaint.

        274.    All conditions precedent to the initiation and maintenance of this action have been

satisfied or otherwise occurred.



                                                  65
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 70 of 75



                          THIRTEENTH CLAIM FOR RELIEF
               (Unconstitutional Taking of Tribal Assets: Midview Exchange)

       275.    The Ute Indian Tribe realleges Paragraphs 1-274 and incorporates them by

reference.

       276.    As the beneficial owner of its Winters Reserved Water Rights, the Tribe has a

cognizable property interest.

       277.    Since the execution of the Midview Exchange, the United States, through the

Bureau of Reclamation, has deprived the Tribe of a portion of the Tribe’s senior-priority Winters

Reserved Water Rights in the Lake Fork River Basin and has given those Reserved Water Rights

to the Moon Lake Water Users Association.

       278.    This action constitutes a per se physical taking of tribal property in contravention

of 25 U.S.C. § 177 and the United States Constitution.

       279.    What the Tribe received under the Midview Exchange—the right to a portion of the

BOR’s state-based water rights, with a priority date inferior to the Tribe’s Winters Reserved Rights

and with the prospect of forfeiture through non-use—did not constitute just compensation for the

United States’ taking of tribal property.

       280.    Further, under the Midview Exchange, the water rights in the Duchesne River that

were given to the BIA in exchange for the BOR’s right to take tribal waters from the Lake Fork

River Basin were specifically granted for the beneficial use of the UIIP. Accordingly, the state-

based water rights given to the BIA under the Midview Exchange are more limited in scope than

Winters reserved water rights.

       281.    In addition, due to the BIA’s subsequent designations of UIIP Land as temporarily

non-assessable or permanently non-assessable, the Tribe is using a lower quantity of water from

the Duchesne River than the United States is taking from the Lakefork River Basin.



                                                66
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 71 of 75



       282.    Finally, the United States has breached the Midview Exchange by failing to transfer

the Midview Property to the BIA to become part of the UIIP.

       283.    For the foregoing reasons, the Tribe has not received just compensation for the

United States’ illegal taking of the Tribe’s water rights in the Lake Fork River Basin.

       284.    The United States’ taking is continuing in nature and remains ongoing as of the

filing date of this Complaint.

       285.    The Tribe is entitled to just compensation for the United States’ taking of the

Tribe’s water rights in the Lake Fork River Basin.

       286.    All conditions precedent to the initiation and maintenance of this action have been

satisfied or otherwise occurred.

                         FOURTEENTH CLAIM FOR RELIEF
     (Unconstitutional Taking of Tribal Assets: Central Utah Project Completion Act)

       287.    The Ute Indian Tribe realleges Paragraphs 1-286 and incorporates them by

reference.

       288.    The Tribe has a cognizable property interest as the beneficial owner of its Winters

reserved water rights, including the portion that is federally-decreed Reserved Water Rights.

       289.    The CUPCA provided for the severe diminution of the Tribe’s right to develop its

Winters reserved water rights and make these water rights valuable for the Tribe and its members,

including a mandated “waiver” of the Tribe’s right to develop the portion of the Tribe’s Group 5

lands that was deferred under the 1965 Deferral Agreement. The CUPCA, therefore, deprived the

Tribe of a cognizable property interest.

       290.    The Tribe did not receive just compensation for this deprivation of its property.

Viewed in the context of the CUPCA as a whole, this mandated “waiver” was included because

the proposed 1990 Revised Compact ratified by Congress under CUPCA requires the Tribe to



                                                67
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 72 of 75



“take from the Green River in lieu of other sources the 57,948 acre-foot depletion of water

allocable to the Tribe’s group 5 lands.” CUPCA was enacted to compliment the 1990 Compact,

but the Ute Tribe never ratified the 1990 Compact due to the Compact’s failure to protect either

the tribal water rights or the Tribe’s administrative authority over its tribal water rights. In an

effort to address these inadequacies, the Tribe has engaged in continuous good faith efforts to

negotiate a revised Compact with the State of Utah and the United States. Unfortunately, these

efforts have not resulted in the execution of a binding Compact.

       291.    Furthermore, the Tribe did not receive adequate compensation in exchange for its

mandated waiver through Title V of the CUPCA, for reasons including, but not limited to, the

United States’ failure to provide compensation sufficient to support development of the full scope

of the Tribe’s Reserved Water Rights and the failure to account for the Tribe’s Croup 5 Reserved

Water Rights to be served by the Lake Fork River in calculating the appropriate compensation

scheme through the Bonneville Unit Tribal Credits in Section 502(a) of CUPCA.

       292.    Based on (i) the lack of a Compact securing Tribe’s water rights in the Green River

and (ii) inadequate compensation under Title V of CUPCA, just compensation has not been

provided to the Tribe, and the mandated waiver in Section 507 constitutes a regulatory taking in

violation of the Fifth Amendment of the United States Constitution.

       293.    The United States’ taking is continuing in nature and remains ongoing as of the

filing date of this Complaint.

       294.    All conditions precedent to the initiation and maintenance of this action have been

satisfied or otherwise occurred.




                                                68
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 73 of 75



                            FIFTEENTH CLAIM FOR RELIEF
                       (Breach of Contract: 1965 Deferral Agreement)

       295.    The Ute Indian Tribe realleges Paragraphs 1-294 and incorporates them by

reference.

       296.    Claims that typically sound in tort but that are based entirely on the breach of a duty

established in a government contract are considered breach of contract claims for jurisdictional

purposes. Woodbury v. United States, 313 F.2d 291 (9th Cir. 1963).

       297.    In the 1965 Deferral Agreement, the United States agreed to the “full and complete

recognition” of the Tribe’s Groups 1-7 water rights “without resort to litigation.” The United

States further agreed that “all phases of the Central Utah Project will in good faith be diligently

pursued to satisfy all Indian water rights at the earliest possible date” after January 1, 2005

(emphasis added).

       298.    Through these provisions in the 1965 Deferral Agreement, the parties mutually

confirmed that the Tribe was reliant on the United States to implement systems and facilities for

the development of all tribal water rights, a term that encompasses Groups 1-7 in their entirety.

       299.    The 1965 Deferral Agreement gives rise to a contract-based fiduciary duty to

develop the Tribe’s water rights for Groups 1-7. By failing to develop all of the Tribe’s water

rights, the United States has violated this fiduciary duty, thereby breaching the 1965 Deferral

Agreement.

       300.    In addition, the United States has failed to satisfy its contractual obligation under

the 1965 Deferral Agreement to adjust the diversion point for the Wissiup, Leland, and Ouray

School Canals in order to provide safer, less polluted water for the UIIP. This contractual

obligation has in no way been waived or abridged since the execution of the 1965 Deferral

Agreement.



                                                 69
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 74 of 75



       301.    The United States’ breaches have resulted in substantial economic losses to the

Tribe and its members. The United States is liable in damages for such losses. Damages are due

from the inception of the United States’ breaches through the present.

       302.    The United States’ breaches are continuing in nature and remain ongoing as of the

filing date of this Complaint.

       303.    All conditions precedent to the initiation and maintenance of this action have been

satisfied or otherwise occurred.

                             SIXTEENTH CLAIM FOR RELIEF
                           (Breach of Contract: Midview Exchange)

       304.    The Ute Indian Tribe realleges Paragraphs 1-303 and incorporates them by

reference.

       305.    To the extent the Midview Exchange is a valid, enforceable agreement, the United

States has breached the Midview Exchange by non-performance in failing to effectuate a transfer

of the Midview Property in trust for the benefit of the UIIP.

       306.    The Tribe did not discover this non-performance until July 2012, when a

jurisdictional dispute arose between the Tribal Fish and Wildlife Officers and two Duchesne

County Deputy Sheriffs.

       307.    The United States’ breach has resulted in substantial economic losses to the Tribe

and its members. The United States is liable in damages for such losses. Damages, including

punitive damages, are due from the inception of the United States’ breaches through the present.

       308.    The United States’ breaches are continuing in nature and remain ongoing as of the

filing date of this Complaint.

       309.    All conditions precedent to the initiation and maintenance of this action have been

satisfied or otherwise occurred.


                                                70
         Case 1:18-cv-00359-RHH Document 1 Filed 03/07/18 Page 75 of 75



       WHEREFORE, THE UTE INDIAN TRIBE REQUESTS:

       1.      Monetary damages in an amount to be determined at trial, together with pre- and

post-judgment interest based on the United States’ breaches of its common law, constitutional,

statutory, regulatory, contractual and fiduciary duties to the Tribe.

       2.      Declaratory and injunctive relief to the extent necessary or proper to provide the

relief otherwise requested.

       3.      An award of the costs of suit incurred by the Ute Indian Tribe, including without

limitation, attorneys’ fees, expenses, expert costs and all other costs related to this action.

       4.      Such other and further relief as the Court shall deem just and proper.


       Dated: March 7, 2018.



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                                                  71
